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               EXHIBIT A
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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY
          ----------------------------------------------------------------------X
          JOHN AGER; JERRY ANTOINE; ELIZABETH ARFLIN;
          JOELLA ARMSTRONG-HUDSON; DAVID ATKINS;                                    Index No. _________/2021
          RICHARD BABCOCK; CHARLES BENFANTE; DAVID
                                                                                    SUMMONS
          BERMAN; MICKEY BEYUKA JR.; JEROME BOYKIN;
          CHRISTOPHER BRACEY; STEPHEN BRINKLEY;                                     Venue is designated pursuant to
          BRIAN BROOKE; CHARLES BROPHY; DALE                                        CPLR § 503(a) & (c) in that
          BROWN; WILLIAM BRUNSON; LARON BUGGS;                                      NEW YORK in this county.
          DONALD BURNETT; CHARLES BURNETT JR; DAVID
          BURTON; EFREM BURTON; GARY BUSHOUSE;
          JOHN BYRNE; CHARLENE CARDOVA; VICTOR
          CASTRO; DARYL COLBERT; EUGENE COOTER;
          ROBERT COUGHLIN; JUAN CRUZ ROSA; KELSIE
          CURRY; NANCY JOY DAVIS; ALTON DOUGLAS;
          DOSSEY DOUGLAS; GLEN DUNHAM; LAURA
          FERNANDEZ; JESSICA FIFE, AS GUARDIAN OF
          MINOR J. F.; TIMOTHY FLOWERS; GEORGE
          FRANKLIN JR; STEVEN GARRISON; CHARLES
          GRUBBS; WILLIAM HALL; TAMMY HANSEN;
          MICHAEL HENDERSON; RANDY HOLBROOK; LISA
          HOLMAN; MARKHAM HOTZE; MICHAEL INGRAM;
          LOREN IRONS; DAVID JACKSON; TONY JOHNSON;
          JAMIE JONES; RICHARD JUDGE; STEPHEN
          KEITHLINE; IVEN KENNEDY; GARY ALAN KIMBER;
          KENNETH KOSKOL; ABENAYAA LANE; PAUL
          LAROCCO; PERRY LEE; TOBEY LEONARD; LARRY
          LOCKLEAR; JEREMY LONG; AMANDA LOPEZ;
          MARK MADRON; FRANK MARENO; KEVIN
          MARLBOROUGH; WILBURN MCCOY; JOHN
          MCDONALD; ROBERT MCGINNIS; DORIS MERCER;
          JAMES MERCOGLIANO; SCOTT MOBLEY; VICTOR
          OBEY; NOLVERTO OJEDA; JEREMY ORTON; BRUCE
          PARKS; PAUL PAYNE; BEVERLY PETTIT; MICHAEL
          PHILLIPS; MELVIN POPE; RONALD PUCCIARELLI;
          MARK RAMIREZ; LESTER RANCK; THOMAS REA;
          LEONARD REUTER; MICHAEL RICHARDS; MYRA
          RIVERA; DERRIK ROBERTS; JAMES ROBINSON;
          AND FRANCISCO ROM,




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                            Plaintiff,

           -against -

           THE 3M COMPANY, f/k/a Minnesota Mining and
           Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
           AMEREX CORPORATION, ARKEMA INC.,
           ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
           COMPANY, CARRIER GLOBAL CORPORATION,
           CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
           CHEMICALS, INC., CLARIANT CORPORATION,
           individually and as successor in interest to Sandoz Chemical
           Corporation, CORTEVA, INC., individually and as
           successor in interest to DuPont Chemical Solutions
           Enterprise, DEEPWATER CHEMICALS, INC., DUPONT
           DE NEMOURS INC., individually and as successor in
           interest to DuPont Chemical Solutions Enterprise, DYNAX
           CORPORATION, E. I. DUPONT DE NEMOURS AND
           COMPANY, individually and as successor in interest to
           DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
           INC., individually and as successor in interest to Kidde Fire
           Fighting, Inc., NATION FORD CHEMICAL COMPANY,
           THE CHEMOURS COMPANY, individually and as
           successor in interest to DuPont Chemical Solutions
           Enterprise, THE CHEMOURS COMPANY FC, LLC,
           individually and as successor in interest to DuPont
           Chemical Solutions Enterprise, and TYCO FIRE
           PRODUCTS, LP, individually and as successor in interest
           to The Ansul Company, and DOE DEFENDANTS 1-20,
           fictitious names whose present identities are unknown,

                              Defendants.
           ----------------------------------------------------------------------X

          To the above-named Defendant:

                  You are hereby summoned to answer the Complaint in this action, and to serve a copy of

          your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of

          Appearance on the Plaintiffs’ attorneys within twenty (20) days after the service of this Summons,

          exclusive of the day of service, where service is made by delivery upon you personally within the

         state, or, within thirty (30) days after completion of service where service is made in any other




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          manner. In case of your failure to appear or answer, judgment will be taken against you by default

          for the relief demanded in the Complaint.

          Dated: New York, New York
                 November 23, 2021

                                                                      Napoli Shkolnik, PLLC
                                                                      Attorneys for Plaintiff

                                                                      /s/ Patrick J. Lanciotti
                                                                      Patrick J. Lanciotti, Esq.
                                                                      360 Lexington Avenue, 11th Floor
                                                                      New York, New York 10017
                                                                      212-397-1000
                                                                      PLanciotti@napolilaw.com




         To:




         3M COMPANY
         c/o Corporation Service Company
         251 Little Falls Drive
         Wilmington, New Castle, DE 19808

         AGC CHEMICALS AMERICAS INC.
         c/o The Corporation Trust Company
         Corporation Trust Center
         1209 Orange Street
         Wilmington, DE 19801

         AMEREX CORPORATION
         c/o James M. Proctor II
         2900 Highway 280
         Suite 300
         Birmingham, AL 35223

         ARCHROMA U.S. INC.




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          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          ARKEMA INC.
          900 First Avenue
          King of Prussia, PA 19406

          BUCKEYE FIRE EQUIPMENT COMPANY
          c/o A Haon Corporate Agent, Inc.
          29225 Chagrin Blvd, Suite 350
          Pepper Pike, OH 44122

          CARRIER GLOBAL CORPORATION
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          CHEMDESIGN PRODUCTS INC.
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMGUARD INC.
          c/o The Prentice-Hall Corporation System, Inc.
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMICALS, INC.
          c/o Ashok K. Moza
          12321 Hatcherville
          Baytown, TX 77520

          CLARIANT CORPORATION
          c/o Corporation Service Company
          8040 Excelsior Drive, Suite 400
          Madison, WI 53717




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          CORTEVA, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DEEPWATER CHEMICALS, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DUPONT DE NEMOURS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DYNAX CORPORATION
          c/o Corporate Systems LLC
          3500 S. Dupont Highway
          Dover, DE 19901

          E. I. DUPONT DE NEMOURS AND COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          KIDDE-FENWAL, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          NATION FORD CHEMICAL COMPANY
          c/o John A. Dickson, IV
          2300 Bank Street
          Fort Mill, SC 29715




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          THE CHEMOURS COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          THE CHEMOURS COMPANY FC, LLC
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          TYCO FIRE PRODUCTS LP
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY

          JOHN AGER; JERRY ANTOINE; ELIZABETH ARFLIN;
          JOELLA ARMSTRONG-HUDSON; DAVID ATKINS;
          RICHARD BABCOCK; CHARLES BENFANTE; DAVID
          BERMAN; MICKEY BEYUKA JR.; JEROME BOYKIN;
          CHRISTOPHER BRACEY; STEPHEN BRINKLEY;
          BRIAN BROOKE; CHARLES BROPHY; DALE BROWN;          Index No. _________/2021
          WILLIAM BRUNSON; LARON BUGGS; DONALD
          BURNETT; CHARLES BURNETT JR; DAVID BURTON;         COMPLAINT AND DEMAND
                                                             FOR JURY TRIAL
          EFREM BURTON; GARY BUSHOUSE; JOHN BYRNE;
          CHARLENE CARDOVA; VICTOR CASTRO; DARYL             Trial by jury is desired in the
          COLBERT; EUGENE COOTER; ROBERT COUGHLIN;           County of New York
          JUAN CRUZ ROSA; KELSIE CURRY; NANCY JOY
          DAVIS; ALTON DOUGLAS; DOSSEY DOUGLAS; GLEN         Venue is designated pursuant to
          DUNHAM; LAURA FERNANDEZ; JESSICA FIFE, AS          CPLR § 503(a) & (c) in that the
          GUARDIAN OF MINOR J. F.; TIMOTHY FLOWERS;          causes of action occurred in this
          GEORGE FRANKLIN JR; STEVEN GARRISON;               county.
          CHARLES GRUBBS; WILLIAM HALL; TAMMY
          HANSEN; MICHAEL HENDERSON; RANDY
          HOLBROOK; LISA HOLMAN; MARKHAM HOTZE;
          MICHAEL INGRAM; LOREN IRONS; DAVID
          JACKSON; TONY JOHNSON; JAMIE JONES; RICHARD
          JUDGE; STEPHEN KEITHLINE; IVEN KENNEDY;
          GARY ALAN KIMBER; KENNETH KOSKOL;
          ABENAYAA LANE; PAUL LAROCCO; PERRY LEE;
          TOBEY LEONARD; LARRY LOCKLEAR; JEREMY
          LONG; AMANDA LOPEZ; MARK MADRON; FRANK
          MARENO; KEVIN MARLBOROUGH; WILBURN
          MCCOY; JOHN MCDONALD; ROBERT MCGINNIS;
          DORIS MERCER; JAMES MERCOGLIANO; SCOTT
          MOBLEY; VICTOR OBEY; NOLVERTO OJEDA;
          JEREMY ORTON; BRUCE PARKS; PAUL PAYNE;
          BEVERLY PETTIT; MICHAEL PHILLIPS; MELVIN
          POPE; RONALD PUCCIARELLI; MARK RAMIREZ;
          LESTER RANCK; THOMAS REA; LEONARD REUTER;
          MICHAEL RICHARDS; MYRA RIVERA; DERRIK
          ROBERTS; JAMES ROBINSON; AND FRANCISCO
          ROM,




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                        Plaintiffs,

          -vs -

          THE 3M COMPANY, f/k/a Minnesota Mining and
          Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
          AMEREX CORPORATION, ARKEMA INC.,
          ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
          COMPANY, CARRIER GLOBAL CORPORATION,
          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
          CHEMICALS, INC., CLARIANT CORPORATION,
          individually and as successor in interest to Sandoz Chemical
          Corporation, CORTEVA, INC., individually and as successor
          in interest to DuPont Chemical Solutions Enterprise,
          DEEPWATER CHEMICALS, INC., DUPONT DE
          NEMOURS INC., individually and as successor in interest to
          DuPont Chemical Solutions Enterprise, DYNAX
          CORPORATION, E. I. DUPONT DE NEMOURS AND
          COMPANY, individually and as successor in interest to
          DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
          INC., individually and as successor in interest to Kidde Fire
          Fighting, Inc., NATION FORD CHEMICAL COMPANY,
          THE CHEMOURS COMPANY, individually and as
          successor in interest to DuPont Chemical Solutions
          Enterprise, THE CHEMOURS COMPANY FC, LLC,
          individually and as successor in interest to DuPont Chemical
          Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,
          individually and as successor in interest to The Ansul
          Company, and DOE DEFENDANTS 1-20, fictitious names
          whose present identities are unknown,

                        Defendants.



                               COMPLAINT AND DEMAND FOR JURY TRIAL

                  Plaintiffs JOHN AGER; JERRY ANTOINE; ELIZABETH ARFLIN; JOELLA

          ARMSTRONG-HUDSON;             DAVID      ATKINS;      RICHARD        BABCOCK;        CHARLES

          BENFANTE;       DAVID       BERMAN;      MICKEY      BEYUKA        JR.;    JEROME     BOYKIN;

          CHRISTOPHER        BRACEY;      STEPHEN      BRINKLEY;          BRIAN     BROOKE;    CHARLES

          BROPHY; DALE BROWN; WILLIAM BRUNSON; LARON BUGGS; DONALD BURNETT;


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          CHARLES BURNETT JR; DAVID BURTON; EFREM BURTON; GARY BUSHOUSE;

          JOHN BYRNE; CHARLENE CARDOVA; VICTOR CASTRO; DARYL COLBERT;

          EUGENE COOTER; ROBERT COUGHLIN; JUAN CRUZ ROSA; KELSIE CURRY; NANCY

          JOY DAVIS; ALTON DOUGLAS; DOSSEY DOUGLAS; GLEN DUNHAM; LAURA

          FERNANDEZ; JESSICA FIFE, AS GUARDIAN OF MINOR J. F.; TIMOTHY FLOWERS;

          GEORGE FRANKLIN JR; STEVEN GARRISON; CHARLES GRUBBS; WILLIAM HALL;

          TAMMY HANSEN; MICHAEL HENDERSON; RANDY HOLBROOK; LISA HOLMAN;

          MARKHAM HOTZE; MICHAEL INGRAM; LOREN IRONS; DAVID JACKSON; TONY

          JOHNSON; JAMIE JONES; RICHARD JUDGE; STEPHEN KEITHLINE; IVEN KENNEDY;

          GARY ALAN KIMBER; KENNETH KOSKOL; ABENAYAA LANE; PAUL LAROCCO;

          PERRY LEE; TOBEY LEONARD; LARRY LOCKLEAR; JEREMY LONG; AMANDA

          LOPEZ; MARK MADRON; FRANK MARENO; KEVIN MARLBOROUGH; WILBURN

          MCCOY; JOHN MCDONALD; ROBERT MCGINNIS; DORIS MERCER; JAMES

          MERCOGLIANO; SCOTT MOBLEY; VICTOR OBEY; NOLVERTO OJEDA; JEREMY

          ORTON; BRUCE PARKS; PAUL PAYNE; BEVERLY PETTIT; MICHAEL PHILLIPS;

          MELVIN POPE; RONALD PUCCIARELLI; MARK RAMIREZ; LESTER RANCK;

          THOMAS REA; LEONARD REUTER; MICHAEL RICHARDS; MYRA RIVERA; DERRIK

          ROBERTS; JAMES ROBINSON; AND FRANCISCO ROM, (“Plaintiffs”), by and through the

         undersigned counsel, hereby files this Complaint against Defendants, 3M COMPANY, f/k/a

         Minnesota Mining and Manufacturing Co., AGC CHEMICALS AMERICAS INC., AMEREX

         CORPORATION, ARKEMA INC., ARCHROMA U.S INC., BUCKEYE FIRE EQUIPMENT

         COMPANY, CARRIER GLOBAL CORPORATION, CHEMDESIGN PRODUCTS INC.,

         CHEMGUARD INC., CHEMICALS, INC., CLARIANT CORPORATION, CORTEVA, INC.,



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          DEEPWATER         CHEMICALS,        INC.,   DUPONT        DE    NEMOURS        INC.,   DYNAX

          CORPORATION, E. I. DUPONT DE NEMOURS AND COMPANY, KIDDE-FENWAL, INC.,

          NATION      FORD     CHEMICAL       COMPANY,        THE     CHEMOURS        COMPANY,        THE

          CHEMOURS COMPANY FC, LLC, and TYCO FIRE PRODUCTS, LP, and DOE

          DEFENDANTS 1-20, fictitious names whose present identifies are unknown              (collectively

          “Defendants”) and alleges, upon information and belief, as follows:

                                                INTRODUCTION

                 1.     This action arises from the foreseeable contamination of groundwater by the use

          of aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

         substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

          (“PFOA”).

                 2.     PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

          PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

          firefighting suppressant agents used in training and firefighting activities for fighting Class B

          fires. Class B fires include fires involving hydrocarbon fuels such as petroleum or other

          flammable liquids.

                 3.     PFOS and PFOA are mobile, persist indefinitely in the environment,

          bioaccumulate in individual organisms and humans, and biomagnify up the food chain. PFOS

          and PFOA are also associated with multiple and significant adverse health effects in humans,

          including but not limited to kidney cancer, testicular cancer, high cholesterol, thyroid disease,

          ulcerative colitis, and pregnancy-induced hypertension.

                 4.     At various times from the 1960s through today, Defendants designed,

          manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA,

          and/or their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or
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          sold the fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF

          (collectively, “AFFF/Component Products”).

                 5.      Defendants     designed,   manufactured,     marketed,    distributed,   and/or   sold

          AFFF/Component Products with the knowledge that these toxic compounds would be released

          into the environment during fire protection, training, and response activities, even when used as

          directed and intended by Defendants.

                 6.      Since its creation in the 1960s, AFFF designed, manufactured, marketed,

          distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

          designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

          intended by Defendants, and subsequently released into the environment during fire protection,

          training, and response activities, resulting in widespread PFAS contamination.

                 7.      Due to this contamination, Plaintiffs have suffered real personal injuries,

          bioaccumulation of PFAS in their bodies, property damage and the diminution in value of their

          properties as a result of the release of PFAS to their water supplies.

                 8.      Plaintiffs have suffered an assortment of diseases and medical conditions as a

          direct result of their exposure to the PFAS contamination of their water supply.

                 9.      Plaintiffs, as residents and those who visited, worked, or otherwise dwelled in the

          Site area, have been unknowingly exposed for many years to PFAS, including at concentrations

          hazardous to their health.

                 10.     Plaintiffs’ unwitting exposure to PFAS in their water supply as a result of the

          Defendants’ conduct, is the direct and proximate cause of Plaintiffs’ injuries.

                 11.     Plaintiffs’ property has been damaged as a result of the presence of the PFAS in

          their water supply.



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                  12.     Plaintiffs seek recovery from Defendants for injuries, damages, and losses

          suffered by the Plaintiffs as a result of exposure to the introduction of PFAS and other toxic

          substance into their water supply, and then into their properties and bodies, in an amount to be

          determined at trial, exclusive of interest, costs, and attorneys’ fees.

                                            JURISDICTION AND VENUE

                  13.     This Court has jurisdiction because Defendant Dynax Corporation’s principal

          place of business is located at 103 Fairview Park Drive, Elmsford, New York 10523.

                  14.     Venue is proper in this District under CPLR §503 (a) because the events,

          omissions and harms that are the basis of Plaintiffs claims occurred in substantial party in this

          District.

                  15.     This Court has personal jurisdiction over Defendants by virtue of each

          Defendants’ regular and systematic contacts with New York, including, among other things,

          purposefully marketing, selling and/or distributing their AFFF/Component Products to and

          within New York, and because they have the requisite minimum contacts with New York

          necessary to constitutionally permit the Court to exercise jurisdiction over them consistent with

          traditional notions of fair play and substantial justice.

                                                        PARTIES

                  A.      Plaintiff

                  16.     Plaintiff John Ager resides at 70 Longwood Avenue, Sellersville, PA 18960.

          Plaintiff was formerly stationed at Davis Monthan AFB AZ S Wilmot Road Tucson AZ

          (hereinafter the “Site”) from 1978 to 1982 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

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          concentrations hazardous to their health. As a direct and proximate result of Plaintiff John Ager’s

          exposure, Plaintiff has been diagnosed with Hypothyroidism, Thyroid Disease.

                 17.     Plaintiff Jerry Antoine resides at 1810 14th St, Lake Charles, LA 70601. Plaintiff

          was formerly stationed at Fort Bragg Normandy Drive Soldier Support Center Building #4-2843

          Fort Bragg NC; Fort Rucker Novosel Street Building 5700 Fort Rucker AL (hereinafter the

          “Site”) from 1969 to 1977 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Jerry Antoine’s exposure, Plaintiff has been

          diagnosed with High Blood Pressure, High Cholesterol, and Ulcerative Colitis.

                 18.     Plaintiff Elizabeth Arflin resides at 404 Church Street, Belton, SC 29627. Plaintiff

          was formerly stationed at NAS Fallon 4755 Pasture Rd, Fallon NV (hereinafter the “Site”) from

          1984 to 1986 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Elizabeth Arflin’s exposure, Plaintiff has been diagnosed with

          Thyroid Disease.

                 19.     Plaintiff JoElla Armstrong-Hudson resides at 1109 S. Salida Way, Aurora, CO

          80017. Plaintiff was formerly stationed at Fort Sam Houston San Antonio TX; Ft. Leonard Wood

          MO (hereinafter the “Site”) from 1970 to 2015 and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and



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          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff JoElla

          Armstrong-Hudson’s exposure, Plaintiff has been diagnosed with Hashimotos Disease,

         Myeloma, Tumor.

                 20.    Plaintiff David Atkins resides at 1656 Hanover Street, Nanticoke, PA 18634.

         Plaintiff was formerly stationed at 44 Lee St. Hanover Township, PA; 56 William st Carteret NJ;

         75 Seneca Dr Nanticoke PA; 75 Seneca Drive Nanticoke, PA; Fort Belvoir 9800 Belvoir Road

         Fort Belvoir VA; NAS Air Station Oceana 1750 Tomcat Blvd Virginia Beach VA; Naval Base

         GU; Norfolk Naval Station 1530 Gilbert St #2000 Norfolk VA; Polaris Point Naval Base PSC

         445 Box 152 FPO AP Santa Rita; Portmouth Naval Ship Yard VA (hereinafter the “Site”) from

         1979 to 1990 and was living on base at the Site during that time. While living on base at the Site,

         Claimant was exposed to PFAS through daily activity and regularly consumed water containing

         elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

         PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

         and proximate result of Plaintiff David Atkins’s exposure, Plaintiff has been diagnosed with

         Kidney Cancer.

                 21.    Plaintiff Richard Babcock resides at 2712 Plumbrook Creek Dr, Sandusky, OH

         44870. Plaintiff was formerly stationed at US Coast Guard Station Miami Beach Miami Beach

         FL (hereinafter the “Site”) from 1969 to 1971 and was living on base at the Site during that time.

         While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

         many years to PFAS as a result of the PFAS contamination at the Site, including at



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          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Richard

          Babcock’s exposure, Plaintiff has been diagnosed with Liver Cancer.

                 22.    Plaintiff Charles Benfante resides at P.O. Box 364, Sanford, NC 27331. Plaintiff

          was formerly stationed at 21 BLOCK BLVD PORT JEFF STA NY; 8240 Deer Creek Rd

          Sanford NC; Bethesda Naval Hospital, MD 4494 Palmer Rd N, Bethesda MD; Fort Dix, NJ Fort

          Dix NJ; Joint Base Andrews, MD 1191 Menoher Drive JB Andrews MD; McGuire AFB, NJ

          McGuire NJ (hereinafter the “Site”) from 1978 to 1982 and was living on base at the Site during

          that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

          and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed

          for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Charles

          Benfante’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 23.    Plaintiff David Berman resides at 1145 Naranca Ave, El Cajon, CA 92021.

          Plaintiff was formerly stationed at Great Lakes Great Lakes IL; Naval Base San Diego CA

          (hereinafter the “Site”) from 1989 to 1989 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff David

          Berman’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 24.    Plaintiff Mickey Beyuka Jr. resides at 3508 Camino Latierra, Gallup, NM 87301.

          Plaintiff was formerly stationed at 220 Verdi Drive Gallup NM; 3508 Camino La Tierra Gallup

          NM; 608 West Logan Gallup NM; 668Jay Gallup NM; Aztec Drive Gallup NM; Cedar Hills



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          Gallup NM; Fort Ord Toro Creek Rd, Marina Marina CA (hereinafter the “Site”) from 1973 to

          1974 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health.

                 25.     Plaintiff Jerome Boykin resides at 1932 Falcon Drive, Saint Louis, MO 63133.

         Plaintiff was formerly stationed at 1932 Falcon Drive Saint Louis MO; Fort Irwing CA; Fort

         Lee; Fort Leonardwood MO; Fort Lewis WA; Fort Wainwright AK; Geibstarat Germany;

         Geiseen Germany (hereinafter the “Site”) from 1974 to 1987 and was living on base at the Site

         during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

         activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

         exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Jerome

         Boykin’s exposure, Plaintiff has been diagnosed with Thyroid Cancer.

                 26.     Plaintiff Christopher Bracey resides at 1122 E. Washington Ave., Apt. D, El

          Cajon, CA 92019. Plaintiff was formerly stationed at Coronado Naval Base ; Jacksonville Naval

          Base FL; Jacksonville Naval Base 6801 Roosevelt Blvd Jacksonville FL; Lake Hursh Naval

          Base NJ; Lakehurst Naval Station Landsdowne Rd Lakehurst NJ; Naval Amphibious Base

          Coronado 3632 Tulagi Rd Coronado CA; Norfolk Naval Base VA; Unknown WA (hereinafter

          the “Site”) from 2000 to 2021 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their



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          health. As a direct and proximate result of Plaintiff Christopher Bracey’s exposure, Plaintiff has

          been diagnosed with Cancer, Colon Cancer.

                 27.     Plaintiff Stephen Brinkley resides at 3621 Purple Sage Rd, Cheyenne, WY 82001.

          Plaintiff was formerly stationed at Bangor Naval Base 120 S. Dewey Street; ; Naval Base Kitsap,

          Building 443 Bangor Naval Base WA; Bangor Naval Base 120 S. Dewey Street Bangor Naval

          Base WA; Dam Neck 400-420 Dam Neck Rd; ; Building 127, Taylor Hall Virginia Beach VA;

          Fairchild AFB 7 W. Arnold St. Faichild AFB WA; Plattsburgh AFB 426 US Oval Plattburgh

          AFB NY (hereinafter the “Site”) from 1981 to 2008 and was living on base at the Site during that

         time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

         many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Stephen

         Brinkley’s exposure, Plaintiff has been diagnosed with Hashimotos Disease, Hypothyroidism,

         Thyroid Disease.

                 28.     Plaintiff Brian Brooke resides at 11731 Old Forge Rd., Waynesboro, PA 17268.

         Plaintiff was formerly stationed at Charleston AFB Building #1953 Joint Base Charleston SC;

         Dover AFB 331 Main Gateway Dover Air Force Base DE; Travis AFB Building #599 Travis Air

         Force Base CA (hereinafter the “Site”) from 1998 to 2005 and was living on base at the Site

         during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

         activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

         exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Brian

         Brooke’s exposure, Plaintiff has been diagnosed with Thyroid Disease.



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                29.     Plaintiff Charles Brophy resides at 6707 denali Ct, Rocklin, CA 95765-. Plaintiff

         was formerly stationed at NAS Whidbey Island WA; NAS Whidbey Island 3730 N Charles

         Porter Ave Oak Harbor WA; P. O. Box 1161 Rancho Cordova CA (hereinafter the “Site”) from

         1989 to 1994 and was living on base at the Site during that time. While living on base at the Site,

         Claimant was exposed to PFAS through daily activity and regularly consumed water containing

         elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

         PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

         and proximate result of Plaintiff Charles Brophy’s exposure, Plaintiff has been diagnosed with

         Gastrointestinal (GI) symptoms, Hyperthyroidism, Hypothyroidism, Thyroid Disease.

                30.     Plaintiff Dale Brown resides at 5126 County Road 125B1, Wildwood, FL 34785.

         Plaintiff was formerly stationed at 260 American Canyon Way American Canyon CA; 3271

         Ashbrook Pl The Villages FL; 5126 County Road 125B1 Wildwood FL; 613 Decoy Ln Saisun

         CA; 900 Locust St Fairfield CA; Alameda Naval Base Alameda CA; Naval Base San Diego San

         Diego CA; Treasure Island CA (hereinafter the “Site”) from 1963 to 1983 and was living on base

         at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

         through daily activity and regularly consumed water containing elevated levels of PFAS.

         Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

         Site, including at concentrations hazardous to their health. As a direct and proximate result of

         Plaintiff Dale Brown’s exposure, Plaintiff has been diagnosed with Prostate Cancer, Renal Cell

         Carcinoma.

                31.     Plaintiff William Brunson resides at 593 Brunson Ln., Walterboro, SC 29488.

         Plaintiff was formerly stationed at US Naval Diving; Salvage Training Center (hereinafter the

         “Site”) from 1981 to 1984 and was living on base at the Site during that time. While living on



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          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff William Brunson’s exposure, Plaintiff has

          been diagnosed with Hypothyroidism.

                 32.     Plaintiff Laron Buggs resides at 1420 W Pine st, Tulsa, OK 74127. Plaintiff was

          formerly stationed at Sheridan Rd Fort Bliss El Paso TX; Sheridan Rd Fort Sill, Lawton OK

          (hereinafter the “Site”) from 1989 to 1990 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Laron

          Buggs’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                 33.     Plaintiff Donald Burnett resides at 360 South Papago St. Apt A 104,

          Springerville, AZ 85938. Plaintiff was formerly stationed at Elckhorn Air Station NE; Kessler

          AFB 4503 M St Biloxi MS; Lackland AFB 2602 Luke Blvd Lackland AFB TX (hereinafter the

          “Site”) from 1975 to 1977 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Donald Burnett’s exposure, Plaintiff has been

          diagnosed with Hyperthyroidism.




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                 34.    Plaintiff Charles Burnett Jr resides at 4718 Michigan Ave., St. Louis, MO 63111.

         Plaintiff was formerly stationed at 2659 Iowa Ave Saint Louis MO; 27946 Carvel Dr Canyon

         Country CA; 409 W.Holden Ave Saint Louis MO; 4218 Shaw Blvd Saint Louis MO; 4500

         Crestline Dr Saint Louis MO; 9956 Heritage Dr apt C Saint Louis MO; Camp Foster (Okinawa,

         Japan) ; Camp Lejeune NC (hereinafter the “Site”) from 1981 to 1983 and was living on base at

         the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

         through daily activity and regularly consumed water containing elevated levels of PFAS.

         Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

         Site, including at concentrations hazardous to their health. As a direct and proximate result of

         Plaintiff Charles Burnett Jr’s exposure, Plaintiff has been diagnosed with Hyperthyroidism.

                 35.    Plaintiff David Burton resides at 14759 Barksdale Street, Woodbridge, VA

          22193. Plaintiff was formerly stationed at ; Naval Air Facility Adak Adak AK; Point Magoo CA;

          USS Hornet Alameda CA (hereinafter the “Site”) at all times relevant herein and was living on

         base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

         through daily activity and regularly consumed water containing elevated levels of PFAS.

         Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

         Site, including at concentrations hazardous to their health. As a direct and proximate result of

         Plaintiff David Burton’s exposure, Plaintiff has been diagnosed with Kidney Damage.

                 36.    Plaintiff Efrem Burton resides at 1647 Olde Spring Trail, Lithia Springs, GA

          30122. Plaintiff was formerly stationed at Fort Dixon NJ; Fort Riley 7264 Normandy Drive,

          Custer Hill Army Community Service Fort Riley KS (hereinafter the “Site”) from 1980 to 1982

          and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated



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          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Efrem Burton’s exposure, Plaintiff has been diagnosed with Thyroid

          Disease.

                 37.    Plaintiff Gary Bushouse resides at 1043 Moriah Rd., Weatherford, TX 76087-.

          Plaintiff was formerly stationed at 1043 Moriah Road Weatherford TX; 149 Harvard Lane Seal

          Beach CA; 27627 Paseo tiara San Juan Capistrano CA; 4580 N Banner Drive Long Beach CA;

          6949 Vista de Oro Rockford MI; 823 Rose Court Kalamazoo MI; Great Lakes Naval Training

          Center North Chicago IL; NAS Almeda ; North Island Naval Air Station San Diego CA; USS

          Pigeon ASR-21 San Diego CA; USS Ranger CVS-61 (hereinafter the “Site”) from 1973 to 1974

          and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Gary Bushouse’s exposure, Plaintiff has been diagnosed with

          Kidney Cancer, Renal Cell Carcinoma.

                 38.    Plaintiff John Byrne resides at 668 Dani St, Fallon, NV 89406. Plaintiff was

          formerly stationed at 4755 Pasture Rd NAS Fallon Fallon NV; Bldg 14013 Camp Pendelton

          Oceanside CA; Cottontail Rd MCAS Twentynine Palms Twentynine Palms CA; MWTC HC83

          MCAS Training Center Bridgeport CA (hereinafter the “Site”) from 1987 to 1998 and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the



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          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff John Byrne’s exposure, Plaintiff has been diagnosed with Birth Defect, Kidney and

          Bladder Problems.

                 39.    Plaintiff Charlene Cardova resides at 1701 Girard Blvd Apt 6, Albuqueree, NM

          87106. Plaintiff was formerly stationed at Fleet Anti-Submarine Warfare 33150 Destroyer Lane,

          San Diego, CA (hereinafter the “Site”) from 1995 to 1998 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Charlene

          Cardova’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                 40.    Plaintiff Victor Castro resides at 813 Sebastian Bend, Pflugerville, TX 78660.

          Plaintiff was formerly stationed at Afghanistan; Fort Campbell 2601 Indiana Ave Fort Campbell,

          KY; Fort Gordon 307 Chamberlain Avenue; Building 33720; Room 172 Fort Gordon GA; Iraq;

          Korea; Kosovo; Kqawit; Linerwood Missouri (hereinafter the “Site”) from 1999 to 2014 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Victor Castro’s exposure, Plaintiff has been diagnosed with Kidney

          Cancer.

                 41.    Plaintiff Daryl Colbert resides at 111 South Ridgely Road, Norfolk, VA 23505.

         Plaintiff was formerly stationed at Boot Camp and Training at SAn Diego, Jacksonville, FL,



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          Jacksonville, FL; NAS Oceana, VA 1750 Tomcat Blvd Virginia Beach VA; Naval Air Station

          Patuxent River 47123 Buse Rd #540, Patuxent River, MD; Naval Station Norfolk, VA 1530

          Gilbert St #2000, Norfolk VA (hereinafter the “Site”) from 1987 to 2013 and was living on base

          at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Daryl Colbert’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 42.    Plaintiff Eugene Cooter resides at 39 Sally Dr., Smithfield, NC 27577. Plaintiff

          was formerly stationed at Barbers Point HI HI; Davis-Monthan AFB Tuson AZ Davis Monthan

          AFB AZ; Italy ; lackland AFB TX lackland AFB TX; Lowry AFB Lowry CO; MacDill AFB

          Tampa Florida 9211 Marina Bay Dr, Tampa FL; Myrtle beach AFB SC SC; Thailand

          (hereinafter the “Site”) from 1971 to 1982 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Eugene

          Cooter’s exposure, Plaintiff has been diagnosed with Prostate Cancer, Thyroid Disease.

                 43.    Plaintiff Robert Coughlin resides at 120 Burnham Court, Folsom, CA 95630.

          Plaintiff was formerly stationed at Alameda Naval Base CA; Meridian base MS; NAS Alameda

          CA; Parris Island on base SC (hereinafter the “Site”) from 1973 to 1980 and was living on base

          at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS.



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          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Robert Coughlin’s exposure, Plaintiff has been diagnosed with Diabetes, Liver Cancer,

          Neurological Problems, Stomach Cancer.

                 44.     Plaintiff Juan Cruz Rosa resides at 112 Calle Caoba Puerto Rico, Isabella, PR

          662. Plaintiff was formerly stationed at 112 Calle caoba Isabela PR; 2 pasó nivel Isabela PR; 230

          mt Vernon pl Newark NJ; 4th ave Newark NJ; Box 656 San Sebastián PR; Camp Pendleton

          Oceanside CA; Camp Pendleton Camp Oceanside CA; (hereinafter the “Site”) from 1971 to

          1971 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Juan Cruz Rosa’s exposure, Plaintiff has been diagnosed with

          Ulcerative Colitis.

                 45.     Plaintiff Kelsie Curry resides at 2503 Skyview Silver Dr, Houston, TX 77047.

         Plaintiff was formerly stationed at MCAS 72-7 Tustin Ranch Rd, Irvine CA (hereinafter the

         “Site”) from 1994 to 1998 and was living on base at the Site during that time. While living on

         base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

         water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

         a result of the PFAS contamination at the Site, including at concentrations hazardous to their

         health. As a direct and proximate result of Plaintiff Kelsie Curry’s exposure, Plaintiff has been

         diagnosed with a Birth Defect.




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                   46.   Plaintiff Nancy Joy Davis resides at 170 NE Milrose Dr., Harbor, WA 98277.

          Plaintiff was formerly stationed at Fort Benning 7117 Baltzell Avenue Building #7 Fort Benning

          GA; Fort Bragg Normandy Dr. Fort Bragg NC; Fort Eustis Washington Blvd, Main Entrance

          Building #02 Fort Eustis VA; Fort Knox Bullion Blvd Fort Knox KY; Fort Story Bldg 529

          Virginia Beach VA; Pentagon 1400 Defense Pentagon Washington DC; Republic of Panama

          Unavailable Balboa (hereinafter the “Site”) from 1980 to 2000 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Nancy Joy

          Davis’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                   47.   Plaintiff Alton Douglas resides at 904 palmdale court, boiling springs, SC 29316.

          Plaintiff was formerly stationed at 631 Plainview Dr Spartanburg SC; 904 Palmdale Ct Boiling

          Springs SC; Camp Lejeune NC; Camp Pendleton CA; Parris Island SC (hereinafter the “Site”) at

         all times relevant herein and was living on base at the Site during that time. While living on base

         at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

         containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

         result of the PFAS contamination at the Site, including at concentrations hazardous to their

         health.

                   48.   Plaintiff Dossey Douglas resides at 4813 Tusk Way, Elk Grove, CA 95757.

         Plaintiff was formerly stationed at NAS Alameda CA (hereinafter the “Site”) at all times relevant

         herein and was living on base at the Site during that time. While living on base at the Site,

         Claimant was exposed to PFAS through daily activity and regularly consumed water containing



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          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Dossey Douglas’s exposure, Plaintiff has been diagnosed with

          Hyperthyroidism, Thyroid Disease.

                 49.     Plaintiff Glen Dunham resides at 44 T Hill Rd, Stonington, ME 4061. Plaintiff

          was formerly stationed at Fort Bliss HQ, US Army Garrison, Fort Bliss ATTN: IMBL-ZA 1741

          Marshall Road Fort Bliss TX; Fort Dix 2270 Fort Dix Rd JB MDL NJ; Fulda Army Airfield

          Federal State of Hessen Fulda; Leesburg Army Base Neue Amberger Str. 92655 Grafenwohr --

          (hereinafter the “Site”) from 1976 to 1986 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Glen

          Dunham’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                 50.     Plaintiff Laura Fernandez resides at 7136 Martin Rd., Milton, FL 32570. Plaintiff

          was formerly stationed at Camp Lejeune 84 Holcomb Blvd.; Marine and Family Programs Camp

          Lejeune NC; Kaneohe Bay HI; Kaneohe Bay MC Marine; Family Programs Building 579, Reed

          Road MCBH Kaneohe Bay HI; Marine Core Air Station Yuma, Yuma AZ; Naval Base Iceland;

          Paris Island Marine Core Base Recruit Depo 283 Blvd De France Parris Island SC; Pensacola

          Marine Core Base 150 Hase Rd Naval Air Station Pensacola FL; Pensacola Marine Core Base

          Building 777, Duncan Road Pensacola FL; Recruit Depo Orlando (hereinafter the “Site”) from

          1985 to 2013 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing



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          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Laura Fernandez’s exposure, Plaintiff has been diagnosed with

          Thyroid Disease.

                 51.     Plaintiff Jessica Fife, as Guardian of minor J. F. resides at 44773 US Hwy 212,

          Watertown, SD 57201. Plaintiff was formerly stationed at China Lake Naval Base 1

          Administrative Circle, Ridgecrest CA; Naval Air Station Whidbey Is 3730 N Charles Porter Ave

          Oak Harbor WA; Naval Station Leemore 700 Avenger Ave, Leemore CA (hereinafter the “Site”)

          from 1999 to 2009 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

          result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Jessica Fife, as Guardian of minor J. F.’s

          exposure, Plaintiff has been diagnosed with Birth Defect, Cancer.

                 52.     Plaintiff Timothy Flowers resides at 4421 Flamingo Cove, Memphis, TN 38117.

         Plaintiff was formerly stationed at Camp Lejeune 812 Holcomb Blvd Camp Lejeune NC

         (hereinafter the “Site”) at all times relevant herein and was living on base at the Site during that

         time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

         many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health.

                 53.     Plaintiff George Franklin Jr resides at 561 Atcher St, Radcliff, KY 40160.

         Plaintiff was formerly stationed at Camp LeJeune NC (hereinafter the “Site”) from 1969 to 1970



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          and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health.

                 54.     Plaintiff Steven Garrison resides at 77 Race Street, Haverhill, MA 1830. Plaintiff

          was formerly stationed at 1329 West 4th St Ontario CA; 21 Bedford st Haverhill MA; 29 Palms

          1502, 5th St, Twentynine Palms, CA 92278 Twentynine Palms CA; 77 Race St Haverhill MA;

          American Embassy Austria Boltzmanngasse 16, 1090 Wein; American Embassy Islamabad

          Pakistan P4F9+H5Q, Ramna 5 Diplomatic Enclave Islamabad; Camp Hansen Okinawa --; Camp

          Lejeune PSC Box 20005 Camp Lejeune NC; Herderson Hall 1555 Southgate Road Arlington

          VA; Marine Corps Air Station El Toro Unnamed Road Irvine CA; Marine Corps Air Station

          Tustin 72-7 Tustin Ranch Rd Irvine CA; Marine Corps Logistics Base Barstow Joseph L Boll

          Ave Barstow CA; MCAS New River Curtis Rd Jacksonville NC; MCRD San Diego 38990

          Midway Ave San Diego CA; MCRD San Diego Recruiting School 38990 Midway Ave San

          Diego CA; MSG Battlion MCB Quantico 3250 Catlin Ave Quantico VA; NAS Adak 100

          Terminal Road Adak AK; Recruiting Office Victorville CA 14190 Bear Valley Rd d Victorville

          CA (hereinafter the “Site”) from 1976 to 1997 and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Steven

          Garrison’s exposure, Plaintiff has been diagnosed with Kidney Cancer.




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                 55.    Plaintiff Charles Grubbs resides at 4040 Oakview Drive #G3, Port Charlotte, FL

          33980. Plaintiff was formerly stationed at Alameda Base CA; Alameda Naval Base 2144

          Clement Ave Alameda CA; NAS Oceana 1750 Tomcat Blvd Virginia Beach VA; Oceana Naval

          Base VA (hereinafter the “Site”) from 1982 to 1985 and was living on base at the Site during that

         time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

         many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Charles

         Grubbs’s exposure, Plaintiff has been diagnosed with Rectal Cancer.

                 56.    Plaintiff William Hall resides at 99 E View Dr, Memphis, TN 38111. Plaintiff

          was formerly stationed at Great Lakes 2601 E. Paul Jones Street Great Lakes IL; NAS

          Millington 5722 Integrity Drive BLDG S455 Millington TN; NAS Oceana 1750 Tomcat Blvd

          Building #230 Virginia Beach VA (hereinafter the “Site”) at all times relevant herein and was

          living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff William Hall’s exposure, Plaintiff has been diagnosed with High

          Blood Pressure, High Cholesterol.

                 57.    Plaintiff Tammy Hansen resides at 203 W Maple St, Holly, MI 48442. Plaintiff

          was formerly stationed at Germany ; Korea ; Lackland AFB Gateway East; Building #2292

          JBSA-Lackland AFB TX; Lowery Air force base Denver CO; Nellis AFB 4625 Fitzgerald Blvd

          Nellis AFB NV (hereinafter the “Site”) from 1986 to 1991 and was living on base at the Site



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          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Tammy

          Hansen’s exposure, Plaintiff has been diagnosed with Graves Disease, Thyroid Disease.

                 58.    Plaintiff Michael Henderson resides at 3242 Briar Wood Boulevard, Atlanta, GA

          30344. Plaintiff was formerly stationed at Airbase Rd George AFB Mountain Home ID;

          GEORGE AFB AIR BASE RD VICTORVILLE CA; George AFB CA airbase rd victorville CA

          (hereinafter the “Site”) from 1977 to 1979 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Michael

          Henderson’s exposure, Plaintiff has been diagnosed with Lymphoma, Non-Hodgkins

         Lymphoma.

                 59.    Plaintiff Randy Holbrook resides at 240 Rabon Trail, Linwood, NC 27233.

         Plaintiff was formerly stationed at Charleston, WV Charleston WV; Deuce Creek Naval

         weapons station, SC 2316 Red Bank Rd Goose Creek, SC; Greensborough, NC 7838 McCloud

         Rd Greensboro NC; Little Creek, VA Little Creek VA; Norfolk, VA 1530 Gilbert St #2000

         Norfolk VA; Orlando Naval Base, FL 12350 Research Pkwy, Orlando FL; Rock Island, IL 90

         Rock Island Arsnal Rock Island, IL; USS Astocian, Norfolk, VA Norfolk, VA; USS Holland,

         Scotland ; York town, VA ( Yorktown VA (hereinafter the “Site”) from 1977 to 2002 and was

         living on base at the Site during that time. While living on base at the Site, Claimant was



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          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Randy Holbrook’s exposure, Plaintiff has been diagnosed with

          Thyroid Disease.

                 60.    Plaintiff Lisa Holman resides at 518 Main St, Smelterville, ID 83868. Plaintiff

          was formerly stationed at Buchel Air Base Germany 56823 Büchel Germany ; Keesler AFB MS

          4503 M St, Biloxi MS; Lackland AFB TX San Antonio TX; March AFB CA March AFB CA;

          RAF Mildenhall England (hereinafter the “Site”) from 1983 to 1987 and was living on base at

          the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Lisa Holman’s exposure, Plaintiff has been diagnosed with Hashimotos Disease.

                 61.    Plaintiff Markham Hotze resides at 3713 Vaucluse Dr, #233, Euless, TX 76040.

          Plaintiff was formerly stationed at Guam ; IWTC Corry Station Pensacola FL; Naval Training

          Center San Diego CA; NSGA ADAK AK (hereinafter the “Site”) from 1978 to 1983 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Markham Hotze’s exposure, Plaintiff has been diagnosed with

          Chronic Lymphocytic Leukemia, Liver Cancer, Myeloma.



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                 62.    Plaintiff Michael Ingram resides at 4729 Weldon Adams Drive, Hephzibah, GA

          30815. Plaintiff was formerly stationed at Great Lakes IL; NAS charleston SC; norfolk naval

          base 1530 Gilbert St #2000, Norfolk VA; Philadelphia Naval Base 4701, Intrepid Ave

          Philadelphia PA (hereinafter the “Site”) from 1983 to 1990 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Michael

          Ingram’s exposure, Plaintiff has been diagnosed with Hyperthyroidism, Thyroid Disease.

                 63.    Plaintiff Loren Irons resides at 4434 W. Main St., Erin, TN 37061. Plaintiff was

          formerly stationed at 815 Cumberland City Rd Cumberland City TN; Camp Roberts CA; Eglin

          Air Force Base FL; Eielson Air Force Base AK; Fort Benning GA; Fort Hunter Liggett CA; Fort

          Ord CA; Fort Wainwright AK (hereinafter the “Site”) from 1985 to 1988 and was living on base

          at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Loren Irons’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                 64.    Plaintiff David Jackson resides at 440 E 520 N, Linden, UT 84042. Plaintiff was

          formerly stationed at JBSA Lackland Gateway East Building #2292 JBSA-Lackland AFB TX;

          Norfolk VA 1530 Gilbert Street Building #N-26 Norfolk VA (hereinafter the “Site”) from 1997

          to 1999 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing



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          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff David Jackson’s exposure, Plaintiff has been diagnosed with

         Hyperthyroidism, Thyroid Disease.

                 65.     Plaintiff Tony Johnson resides at 223 East 15th Street, Junction City, KS 66441.

         Plaintiff was formerly stationed at Castle AFB 5050 Santa Fe D Atwater CA; Chanute AFB

         Rantoul IL; Charleston Air Force Base Charleston SC; Grisham AFB IN (hereinafter the “Site”)

         from 1972 to 1977 and was living on base at the Site during that time. While living on base at the

         Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

         containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

         result of the PFAS contamination at the Site, including at concentrations hazardous to their

         health. As a direct and proximate result of Plaintiff Tony Johnson’s exposure, Plaintiff has been

          diagnosed with Thyroid Disease.

                 66.     Plaintiff Jamie Jones resides at 1003 Buchanan Drive, Florence, SC 29505.

          Plaintiff was formerly stationed at 7535 Greenway dr Baltimore MD; Great Lakes 2601 E. Paul

          Jones Street Great Lakes IL; Naval Base Kitsap 1 Boone Rd Bremerton WA; Treasure island

          training facility 649 Ave San Francisco CA; Washington Navy Yard 1043 Harwood St SE, Bldg.

          154; ; Washington Navy Yard Washington DC; Yakouska, Japan Honcho, Yokosuka, Kanagawa

          238-0041, Japan (hereinafter the “Site”) from 1996 to 1996 and was living on base at the Site

         during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

         activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

         exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at




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          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Jamie

          Jones’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 67.     Plaintiff Richard Judge resides at 7995 Valley Dr, Keystone Heights, FL 32656.

          Plaintiff was formerly stationed at Camp Lejuene Camp Lejuene NC; Kaneohe Bay Kaneohe

          Bay HI (hereinafter the “Site”) from 1988 to 1993 and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Richard

          Judge’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 68.     Plaintiff Stephen Keithline resides at 8417 Engler Park Court, St John's, MO

          63014. Plaintiff was formerly stationed at Great Lakes Naval Station 3355 Illinois St North

          Chicago IL; NAS Chase Field Texas State Highway 202 Beeville TX; NAS Jacksonville 6801

          Roosevelt Blvd Jacksonville FL; NSA Mid-South 7700 Hornet Ave Millington TN (hereinafter

          the “Site”) from 1979 to 1987 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Stephen Keithline’s exposure, Plaintiff has

          been diagnosed with Kidney Cancer.

                 69.     Plaintiff Iven Kennedy resides at 7831 Mittie Ave, Panama City, FL 32404.

          Plaintiff was formerly stationed at Camp Stanton, Korea 304-1 Sinsan-ri, Gwangtan-myeon,

          Paju-si, Gyeonggi-do, South Korea ; Fort Campbell 1501 William C. Lee Rd, Fort Campbell



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          KY; Ft Jacksonville 9810 Lee Road Fort Jackson SC; Ft. Benning 7117 Baltzell Avenue Fort

          Benning GA; Travis Airforce Base 351 Travis Ave; ; Bldg. 660 Travis AFB CA (hereinafter the

          “Site”) from 1976 to 1979 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Iven Kennedy’s exposure, Plaintiff has been

          diagnosed with Thyroid Disease.

                 70.     Plaintiff Gary Alan Kimber resides at 10685 Coloma Rd., Apt. 77, Rancho

          Cordova, CA 95670. Plaintiff was formerly stationed at Belgium ; Fort Gordon GA; Fort Gordon

          307 Chamberlain Avenue Fort Gordon GA; Fort Jackson SC; Fort Jackson 4500 Stuart St.

          Columbia SC; Fort Riley KS; Fort Riley 885 Henry Drive Fort Riley KS; Germany ; Unknown

          CA; USAG Brussels (hereinafter the “Site”) from 1978 to 1981 and was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

          Gary Alan Kimber’s exposure, Plaintiff has been diagnosed with High Cholesterol, Kidney

          Cancer, Liver Cancer, Renal Cell Carcinoma.

                 71.     Plaintiff Kenneth Koskol resides at 170 Kelli Ct., Azle, TX 76020. Plaintiff was

          formerly stationed at NASJRB Fort Worth Coody Dr Westworth Village TX; Sheppard AFB 210

          Missile Road; ; Sheppard AFB Sheppard AFB TX (hereinafter the “Site”) from 1961 to 1966 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was



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          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Kenneth Koskol’s exposure, Plaintiff has been diagnosed with

          Leukemia.

                 72.    Plaintiff Abenayaa Lane resides at 844 Burlington Ave, Billings, MT 59101.

          Plaintiff was formerly stationed at Columbus, OH 108 Simler Boulevard Columbus AFB MS;

          Fort Bragg, NC Soldier Support Center Building 4-2843 Normandy Street Fort Bragg NC; Fort

          Dix, NJ Fort Dix NJ; Fort Jackson, SC 9810 Lee Road Fort Jackson SC; Home but National

          Guard 6801 NE Cornfoot Rd, Portland OR (hereinafter the “Site”) from 2005 to 0 and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Abenayaa Lane’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 73.    Plaintiff Paul Larocco resides at 38 Heisser Lane, Farmingdale, NY 11735.

          Plaintiff was formerly stationed at 168 Edgewater Ave Bayport NY; 2042 east 65 St Brooklyn

          NY; 21 Fairlawn Court Shirley NY; 218 Granny Rd Farmingville NY; 38 Heisser Lane

          Farmingdale NY; 417 South Ocean Ave Patchogue NY; 82 Clinton Ave East Patchogue NY; 99

          Waverly Ave Patchogue NY; Great Lakes Naval Station Great Lakes IL; Millington Naval Air

          Station Millington TN; Pensacola Naval Air Station Pensacola FL; Roosevelt Roads Ceiba PR

          (hereinafter the “Site”) from 1979 to 1983 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and



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          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Paul

          Larocco’s exposure, Plaintiff has been diagnosed with High Cholesterol, Kidney Cancer, Renal

         Cell Carcinoma.

                 74.    Plaintiff Perry Lee resides at 11801 Toepperweia Rd., Apt. 104, Live Oak, TX

         78233. Plaintiff was formerly stationed at Mayport Naval Base FL; NAS Jacksonville

         Jacksonville FL; Philadelphia Naval Shipyard PA; Unknown San Diego CA (hereinafter the

         “Site”) from 1980 to 1983 and was living on base at the Site during that time. While living on

         base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

         water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

         a result of the PFAS contamination at the Site, including at concentrations hazardous to their

         health. As a direct and proximate result of Plaintiff Perry Lee’s exposure, Plaintiff has been

          diagnosed with Thyroid Disease.

                 75.    Plaintiff Tobey Leonard resides at 24555 Pecan Point Dr, Plaquemine, LA 70764.

         Plaintiff was formerly stationed at Camp Lejeune, NC 84 Holcomb Blvd. Marine and Family

         Programs Camp Lejeune NC; Great Lakes, IL 2601 E. Paul Jones Street Great Lakes IL; NAS

         Lemoore, CA Franklin Ave; Enterprise Ave Lemoore CA; NAS Miramar, CA Miramar Way San

         Diego CA; NAS Pensacola, FL 280 Taylor Rd Pensacola FL; Naval Hospital Pensacola, FL 6000

         West Highway 98 Pensacola FL; NTC Great Lakes, IL 2601 E. Paul Jones Street Great Lakes IL

         (hereinafter the “Site”) from 1990 to 1991 and was living on base at the Site during that time.

         While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for



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          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Tobey

          Leonard’s exposure, Plaintiff has been diagnosed with Graves Disease, Hypothyroidism.

                 76.    Plaintiff Larry Locklear resides at 210 Stone Road, Fairmont, NC 28340. Plaintiff

         was formerly stationed at F.E. Warren Air Force Base Missile Dr. F.E. Warren AFB WY;

         McGuire Air Base 3021 McGuire Blvd McGuire AFB NJ; Vietman Multiple Sites within

         Vietnam -- --; Volkel Air Base 703rd MUNSS Commanders Support Staff -- --; Whiteman AFB

         101 Spirit Blvd Whiteman AFB MO (hereinafter the “Site”) from 1963 to 1984 and was living

         on base at the Site during that time. While living on base at the Site, Claimant was exposed to

         PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

         Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

         Site, including at concentrations hazardous to their health. As a direct and proximate result of

         Plaintiff Larry Locklear’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                 77.    Plaintiff Jeremy Long resides at 103 Rindge Rd., Piedmont, SC 29673-. Plaintiff

         was formerly stationed at Marine Combat Training Camp Pendleton CA; Marine Corp's Recruit

         Depot San Diego CA; Marine Corps Air Station Iwakuni JP; Marine Corps Air Station New

         River Jacksonville NC; NAS Memphis Millington TN (hereinafter the “Site”) from 1991 to 1994

         and was living on base at the Site during that time. While living on base at the Site, Claimant

         was exposed to PFAS through daily activity and regularly consumed water containing elevated

         levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

         contamination at the Site, including at concentrations hazardous to their health. As a direct and

         proximate result of Plaintiff Jeremy Long’s exposure, Plaintiff has been diagnosed with

         Hyperthyroidism.



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                 78.     Plaintiff Amanda Lopez resides at 108 Haven Crest, Bonaire, GA 31005. Plaintiff

          was formerly stationed at Luke AFB 14185 Falcon St Luke AFB AZ; Scott AFB South Dr Scott

          AFB IL (hereinafter the “Site”) from 2012 to 2020 and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Amanda

          Lopez’s exposure, Plaintiff has been diagnosed with Hashimotos Disease, Hypothyroidism,

          Thyroid Cancer.

                 79.     Plaintiff Mark Madron resides at 71553 647th Avenue, Verdon, NE 68457.

          Plaintiff was formerly stationed at Blaine AFS Blaine WA; Cold Bay AFS Cold Bay AK;

          Ellsworth AFB Ellsworth SD; Lackland AFB San Antonio TX; Patrick AFB Patrick FL

          (hereinafter the “Site”) from 1972 to 1979 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Mark

          Madron’s exposure, Plaintiff has been diagnosed with Pancreatic Cancer.

                 80.     Plaintiff Frank Mareno resides at 24610 69th Pl, Salem, WI 53168. Plaintiff was

          formerly stationed at ; Camp Lejeuene Camp Lejeuene NC; Camp Pendleton Oceanside CA;

          Fort. Detrick Fort. Detrick MD (hereinafter the “Site”) at all times relevant herein and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.



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          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health.

                 81.     Plaintiff Kevin Marlborough resides at 50 Navajo Drive, Picayune, MS 39466.

         Plaintiff was formerly stationed at Mayport Base May Port Massey Avenue Building 1 Mayport

         FL; Meridian MS; Naval Station in Guantanamo Bay Cuba Building 2144 Box 25 Naval Station

         Guantanamo Guantanamo Bay Cuba (hereinafter the “Site”) from 1982 to 1993 and was living

         on base at the Site during that time. While living on base at the Site, Claimant was exposed to

         PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

         Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

         Site, including at concentrations hazardous to their health. As a direct and proximate result of

         Plaintiff Kevin Marlborough’s exposure, Plaintiff has been diagnosed with High Cholesterol,

         Hypothyroidism, Thyroid Disease.

                 82.     Plaintiff Wilburn McCoy resides at 8 Old Dyer Trenton Rd, Dyer, TN 38330.

         Plaintiff was formerly stationed at 10 Old Dyer Trenton Rd Dyer TN; 22 Kardinaal Mercier Laan

         De Haan Belgium IW; 530 Hanford Goose Creek SC; 8 Old Dyer Trenton Rd Dyer TN; Camp

         Lejeune (Tarawa Terrace) 84 Iwo Jima Blvd. Tarawa Terrace NC; Camp Lejeune NC 84

         Holcomb Blvd. Marine and Family Programs Camp Lejeune NC; EPMAC New Orleans Poland

         Ave New Orleans LA; Great Lakes IL 2601 E. Paul Jones Street Great Lakes IL; Holy Lock

         Scotland ; Los Alamos AFDB-7 ; NAS Pensacola 718 Upham Ct Pensacola FL; NSA New

         Orleans New Orleans LA; PO Box 373 Genoa AR; Rt 7 Box 472D Texarkana AR; RTC Orlando

         FL Orlando FL; USS Lexington CUT-16 ; USS Tortuga LSD 46 NAB Little Creek VA

         (hereinafter the “Site”) from 1978 to 1997 and was living on base at the Site during that time.

         While living on base at the Site, Claimant was exposed to PFAS through daily activity and



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          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health.

                 83.     Plaintiff John McDonald resides at 5000 Sowens way, Prince George, VA 23875.

         Plaintiff was formerly stationed at 4236 chickenfoot rd saint pauls NC; 4236 Chickenfoot Road

         Saint Pauls NC; 880 Caton Rd lumberton NC; Fort Bragg Soldier Support Center Building 4-

         2843 Normandy Street Fort Bragg NC; Fort Jackson 9810 Lee Road Fort Jackson SC; Fort Lee

         500 Lee Avenue Building #5228 Fort Lee VA; Fort McClellan 1023 Fort McClellan Anniston

         AL; Fort Stewart General Stewart Way; Memorial Dr Hinesville GA; Honduras (hereinafter the

         “Site”) from 1979 to 2003 and was living on base at the Site during that time. While living on

         base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

         water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

         a result of the PFAS contamination at the Site, including at concentrations hazardous to their

         health. As a direct and proximate result of Plaintiff John McDonald’s exposure, Plaintiff has

         been diagnosed with High Cholesterol, Hyperthyroidism, Hypothyroidism, Thyroid Disease.

                 84.     Plaintiff Robert McGinnis resides at 599 Jonesmill Rd., PO Box 486, Laverne,

         TN 37086. Plaintiff was formerly stationed at Ellsworth AFB SD; NAS Meridian Miramar Way

         San Diego CA; Norfolk Naval Station 1530 Gilbert St #2000 Norfolk VA (hereinafter the “Site”)

         from 1974 to 1975 and was living on base at the Site during that time. While living on base at the

         Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

         containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

         result of the PFAS contamination at the Site, including at concentrations hazardous to their




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          health. As a direct and proximate result of Plaintiff Robert McGinnis’s exposure, Plaintiff has

          been diagnosed with Cancer, Colon Cancer.

                 85.    Plaintiff Doris Mercer resides at 3857 Brooksfield Dr, Valdosta, GA 31605.

         Plaintiff was formerly stationed at Chenutt air force base Rantoul IL ; Edwards air force base 90

         Farrell Drive, Bldg 5620 Edwards AFB CA; Eglin air force base 2591 Eglin Boulevard Eglin Air

         Force Base FL; Japan ; Maguire air force base JB MDL, 3021 McGuire Blvd Trenton NJ; Mertle

         beach air force mertle beach SC; Minot airfield base ; North Dakota ; Moody air force base

         Georgia 9320 Davidson Road; Building #16 Moody AFB GA; Parkesdale Airforce Space;

         Louisiana Highway 70 Barksdale AFB LA; Tampa air-force base 9211 Marina Bay Dr Tampa

         FL (hereinafter the “Site”) from 1957 to 1997 and was living on base at the Site during that time.

         While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

         many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Doris

         Mercer’s exposure, Plaintiff has been diagnosed with Kidney Cancer, Renal Cell Carcinoma.

                 86.    Plaintiff James Mercogliano resides at 859 S Main St, Bellingham, MA 2019.

         Plaintiff was formerly stationed at 859 South Main Bellingham MA; Castle AFB 5050 Santa Fe

         Dr Atwater CA; Eglin AFB FL; Eglin AFB 2591 Eglin Boulevard Eglin Air Force Base FL;

         Kwangju AB Kwangju SK; Lackland AFB San Antonio TX; Lackland Air Force Base San

         Antonio TX; Mcguire AFB NJ; Oson AB Oson SK (hereinafter the “Site”) from 1966 to 1970

         and was living on base at the Site during that time. While living on base at the Site, Claimant

         was exposed to PFAS through daily activity and regularly consumed water containing elevated

         levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS



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          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff James Mercogliano’s exposure, Plaintiff has been diagnosed with

          High Blood Pressure, High Cholesterol.

                 87.    Plaintiff Scott Mobley resides at 501 Knolle Court, St. Augustine, FL 32092-.

         Plaintiff was formerly stationed at Fort Meade 4409 Llewellyn Ave Fort Meade MD; Joint Base

         Elmendorf-Richardson 600 Richardson Dr Joint Base Elmendorf-Richardson AK; Naval Station

         Pearl Harbor 850 Ticonderoga St JBPHH HI; Naval Station Rota 11530 Base Naval Cádiz --;

          NSA Sugar Grove Station 133 Hedrick Dr Sugar Grove WV; Orlando Naval Base 12350

          Research Pkwy Orlando FL; Rhein Main Air Base Frankfurt -- (hereinafter the “Site”) from 1992

         to 2011 and was living on base at the Site during that time. While living on base at the Site,

         Claimant was exposed to PFAS through daily activity and regularly consumed water containing

         elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

         PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

         and proximate result of Plaintiff Scott Mobley’s exposure, Plaintiff has been diagnosed with

         Lymphoma, Non-Hodgkins Lymphoma.

                 88.    Plaintiff Victor Obey resides at 615 Woodland Ave, Plainfield, NJ 07062-.

         Plaintiff was formerly stationed at NAS 1530 Gilbert St #2000, Norfolk VA; USS Midway

         Home Port NY (hereinafter the “Site”) from 1988 to 1991 and was living on base at the Site

         during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

         activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

         exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Victor

         Obey’s exposure, Plaintiff has been diagnosed with Kidney Cancer.



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                89.    Plaintiff Nolverto Ojeda resides at 318 Staples Ave., San Jose, CA 95127.

         Plaintiff was formerly stationed at Elmendorf AFB Anchorage AK; Elmendorf Air Force Base

         5800B Westover Avenue JBER AK; Fort Carson Fort Carson CO; Fort Carson 6001 Wetzel Ave

         Fort Carson CO (hereinafter the “Site”) from 1970 to 1978 and was living on base at the Site

         during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

         activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

         exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Nolverto

         Ojeda’s exposure, Plaintiff has been diagnosed with Colitis, High Cholesterol, Kidney Cancer,

          Lymphoma, Thyroid Cancer.

                90.    Plaintiff Jeremy Orton resides at 1701 Fire Tower Rd, Christiansburg, VA 24073.

         Plaintiff was formerly stationed at Fort Stewart General Stewart Way; Memorial Dr Hinesville

         GA (hereinafter the “Site”) from 1996 to 1999 and was living on base at the Site during that

         time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

         regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

         many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Jeremy

         Orton’s exposure, Plaintiff has been diagnosed with Hyperthyroidism.

                91.    Plaintiff Bruce Parks resides at 6365 Sunnyside Dr, Milton, FL 32570. Plaintiff

         was formerly stationed at 29 Palms 1502, 5th St, Twentynine Palms, CA 92278 Twentynine

         Palms CA; Fort Knox Bullion Blvd Fort Knox KY; MCRD San Diego 38990 Midway Ave San

         Diego CA (hereinafter the “Site”) from 1983 to 1987 and was living on base at the Site during

         that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity



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                      and         regularly
                                                             consumed                          water                     containing
                                                                                                                                                            elevated




                      for
                                  many            years                to        PFAS                     as         a          result              of         the              P


                      concentrations                            hazardous                            to          their              health.                  As             a




                      Parks's             exposure,                       Plaintiff                  has           been                  diagnosed                      with




                                        92.                   Plaintiff                       Paul                Payne                    resides                     at




                      Plaintiff               was           formerly                   stationed                           at
                                                                                                                                   Camp                  Lejeune




                      France             Parris              Island                   SC       (hereinafter                                the            "Site")




                     base          at   the          Site
                                                                during                 that          time.                 While                 living
                                                                                                                                                                       on



                      through                 daily             activity
                                                                                              and               regularly
                                                                                                                                                 consumed



                      Claimant                  has         been             exposed                      for
                                                                                                                     many                  years             to        PFA



                      Site,         including
                                                                at          concentrations                                      hazardous                         to        the




                      Plaintiff               Paul           Payne's                   exposure,                           Plaintiff                     has           been
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                 94.    Plaintiff Michael Phillips resides at 405 Hillside St, Kilgore, TX 75662. Plaintiff

          was formerly stationed at Hill Air Force Base 7981 Georgia St Hill AFB UT (hereinafter the

          “Site”) from 1988 to 1990 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Michael Phillips’s exposure, Plaintiff has

          been diagnosed with Prostate Cancer.

                 95.    Plaintiff Melvin Pope resides at 513 Alexandria Dr, Franklin, TN 37064. Plaintiff

         was formerly stationed at Camp Lejuene Camp Lejuene NC; Camp Pendleton Camp Pendleton

         CA; Camp Zukeran Japan (hereinafter the “Site”) at all times relevant herein and was living on

         base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

         through daily activity and regularly consumed water containing elevated levels of PFAS.

         Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

         Site, including at concentrations hazardous to their health.

                 96.    Plaintiff Ronald Pucciarelli resides at 655 Middle Country Rd, Apt 2F2, New

         York, NY 11727. Plaintiff was formerly stationed at lemoore naval air station 700 Avenger Ave

         Lemoore CA; Naval Station MD; San Diego CA (hereinafter the “Site”) from 1975 to 1976 and

         was living on base at the Site during that time. While living on base at the Site, Claimant was

         exposed to PFAS through daily activity and regularly consumed water containing elevated levels

         of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

         contamination at the Site, including at concentrations hazardous to their health. As a direct and




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          proximate result of Plaintiff Ronald Pucciarelli’s exposure, Plaintiff has been diagnosed with

          High Blood Pressure, High Cholesterol, Multiple Sclerosis, Pancreatic Cancer.

                 97.     Plaintiff Mark Ramirez resides at 9232 Kristine Drive NW, Bremerton, WA

          98311. Plaintiff was formerly stationed at Camp Lejeune 84 Holcomb Blvd.; ; Marine and

          Family Programs Camp Lejeune NC; Camp Pendleton Building 13150; ; Camp Pendleton Camp

          Pendleton Marine Corps Base CA; MC Recruit depot 38990 Midway Ave San Diego CA; Naval

          Base Coronado 3rd St; Alameda Blvd Coronado CA (hereinafter the “Site”) from 1981 to 1987

          and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Mark Ramirez’s exposure, Plaintiff has been diagnosed with

          Testicular Cancer, Ulcerative Colitis.

                 98.     Plaintiff Lester Ranck resides at 16 Kennedy Drive, Ephrata, PA 17522. Plaintiff

          was formerly stationed at Dover AFB 846 Sumner Drive Building #846 Dover AFB DE;

          Lackland AFB Hwy 90 SW Military Road Lackland AFB TX; Sheppard AFB 210 Missile Road

          Sheppard AFB TX; Travis AFB 351 Travis Ave Bldg. 660 Travis AFB CA (hereinafter the

          “Site”) from 1971 to 1978 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Lester Ranck’s exposure, Plaintiff has been

          diagnosed with High Cholesterol, Hypothyroidism, Kidney Cancer.



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                 99.     Plaintiff Thomas Rea resides at 18 Pearl St, Milford, CT 6460. Plaintiff was

          formerly stationed at 29 Palms CA; Parris Island SC; Camp Lejeune Mainside Bldg 327

          (hereinafter the “Site”) at all times relevant herein and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Thomas

          Rea’s exposure, Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol.

                 100.    Plaintiff Leonard Reuter resides at 7450 Minstead Ave, Hesperia, CA 92345.

          Plaintiff was formerly stationed at 7450 Minstead Ave Hesperia CA (hereinafter the “Site”) at all

          times relevant herein and was living on base at the Site during that time. While living on base at

          the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

          result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Leonard Reuter’s exposure, Plaintiff has been

          diagnosed with High Blood Pressure, High Cholesterol.

                 101.    Plaintiff Michael Richards resides at 1815 North Albany St., Springfield, IL

          62702. Plaintiff was formerly stationed at Boot camp Fort Mucclulan AL 1023 Fort McClellan

          Anniston AL; Fort Brag NC Fort Brag NC (hereinafter the “Site”) from 1981 to 1984 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and



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          proximate result of Plaintiff Michael Richards’s exposure, Plaintiff has been diagnosed with

          Hyperthyroidism, Hypothyroidism, Pancreatic Cancer.

                 102.    Plaintiff Myra Rivera resides at 1508 Oxford Pl., Apt. 24, Manhattan, KS 66502.

          Plaintiff was formerly stationed at Fort Campbell KY; Fort Riley KA; Hunter Army Airfield

          Savannah GA (hereinafter the “Site”) from 2001 to 2010 and was living on base at the Site

         during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

         activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

         exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

         concentrations hazardous to their health. As a direct and proximate result of Plaintiff Myra

         Rivera’s exposure, Plaintiff has been diagnosed with Hashimotos Disease, Hyperthyroidism.

                 103.    Plaintiff Derrik Roberts resides at 7538 Copper Cv, Converse, TX 78109. Plaintiff

          was formerly stationed at NAS Cecil Field FL; NAS North Island CA (hereinafter the “Site”) at

          all times relevant herein and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a

          result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Derrik Roberts’s exposure, Plaintiff has been

          diagnosed with High Cholesterol, Hyperthyroidism, Hypothyroidism.

                 104.    Plaintiff James Robinson resides at 3930 River Crest Circle, Leesburg, FL 34748.

          Plaintiff was formerly stationed at Patrick Air Force Base Patrick AFB FL (hereinafter the

          “Site”) from 1969 to 1971 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as



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          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff James Robinson’s exposure, Plaintiff has

          been diagnosed with Prostate Cancer.

                 105.   Plaintiff Francisco Rom resides at 1350 Foxdale Loop, Apt. 515, San Jose, CA

          95122. Plaintiff was formerly stationed at Fairbanks AK; Ft. Benning ; Ft. Campbell ; Ft.

          Lauderdale ; Ft. Ord ; 1350 FOXDALE LOOP 515 San Jose city CA; 1617 Nickel Avenue 515

          San Jose city CA; 2230 Stokes Clarksville TN; 2761 Aida Ave San Jose CA; Alvin Avenue 515

          San Jose city CA; Brandies Street 515 San Jose city CA; Brown Avenue Santa Clara CA; Fort

          Benning Fort Benning Atlanta GA; Fort Campbell Fort Campbell Fort Campbell KY; Fort

          Lauderdlae Fort Lauderdale Fort Lauderdale FL; Fort Ord Ford Ord Monterey CA; Fort Sherman

          Fort Sherman Fort Sherman --; Fort Wainright Fort Wainright Fairbanks AK; Kauai 515 San

         Jose city CA; Peeble Lake sunnyvale CA (hereinafter the “Site”) from 1973 to 1975 and was

         living on base at the Site during that time. While living on base at the Site, Claimant was

         exposed to PFAS through daily activity and regularly consumed water containing elevated levels

         of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

         contamination at the Site, including at concentrations hazardous to their health. As a direct and

         proximate result of Plaintiff Francisco Rom’s exposure, Plaintiff has been diagnosed with

         Pancreatic Cancer.

                 106.   Personnel at the Site stored, handled, used, trained with, tested equipment with,

         otherwise discharged AFFF products in their facility, therefore contaminating groundwater

         supplies in the vicinity of the base.




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                  107.     Plaintiffs have been exposed to PFAS, have elevated levels of these contaminants

          in their blood, and are at an increased risk of health effects, changes in thyroid hormone, kidney

          cancer, and other autoimmune diseases.

                  108.     Plaintiffs have a legitimate fear of developing additional injuries as a result of

          their exposure to PFAS, including but not limited to effects on the liver and immune system,

          high cholesterol levels, changes in thyroid hormone, kidney cancer and other autoimmune

          diseases.

                  B.       Defendants

                  109.     The term “Defendants” refers to all Defendants named herein jointly and

          severally.

                             i.   The AFFF Defendants

                  110.     The term “AFFF Defendants” refers collectively to Defendants 3M Company,

          Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment

          Company, Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products

          GP Holding, LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., and Tyco Fire

          Products L.P.,

                  111.     Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing

          Co. (“3M”) is a corporation organized and existing under the laws of the State of Delaware, with

          its principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

                  112.     Beginning before 1970 and until at least 2002, 3M designed, manufactured,

          marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.




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                 113.    Defendant Amerex Corporation (“Amerex”) is a corporation organized and

         existing under the laws of the State of Alabama, with its principal place of business located at

         7595 Gadsden Highway, Trussville, AL 35173.

                 114.    Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

         manufacturer of hand portable and wheeled extinguishers for commercial and industrial

         applications.

                 115.    In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

         manufacturers of AFFF products in Europe.

                 116.    On information and belief, beginning in 2011, Amerex designed, manufactured,

         marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

         PFOS.

                 117.    Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

         under the laws of the State of Delaware, with its principal place of business located at One

         Stanton Street, Marinette, Wisconsin 54143-2542.

                 118.    Tyco is the successor in interest of The Ansul Company (“Ansul”), having

          acquired Ansul in 1990.

                 119.    Beginning in or around 1975, Ansul designed, manufactured, marketed,

          distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

                 120.    After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design,

          manufacture, market, distribute, and sell AFFF products containing PFAS, including but not

          limited to PFOA and PFOS.




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                  121.   Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

         the laws of the State of Texas, with its principal place of business located at One Stanton Street,

         Marinette, Wisconsin 54143.

                  122.   On information and belief, Chemguard designed, manufactured, marketed,

          distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

          PFOS.

                  123.   On information and belief, Chemguard was acquired by Tyco International Ltd. in

          2011.

                  124.   On information and belief, Tyco International Ltd. later merged into its subsidiary

          Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

          Ireland.

                  125.   Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

         organized under the laws of the State of Ohio, with its principal place of business located at 110

         Kings Road, Kings Mountain, North Carolina 28086.

                  126.   On information and belief, Buckeye designed, manufactured, marketed,

          distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

          PFOS.

                  127.   Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at One Financial

          Plaza, Hartford, Connecticut 06101.

                  128.   On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

          P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

          Corporation.



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                   129.   On information and belief, Kidde-Fenwal is the entity that divested the AFFF

          business unit now operated by National Foam in 2013.

                   130.   Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

          Boulevard, Palm Beach Gardens, Florida 33418.

                   131.   On information and belief, Carrier was formed in March 2020 when United

          Technologies Corporation spun off its fire and security business before it merged with Raytheon

          Company in April 2020.

                   132.   On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

          United Technologies Corporation spun off its fire and security business in March 2020.

                   133.   On information and belief, the AFFF Defendants designed, manufactured,

         marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

         precursors that were stored, handled, used, trained with, tested equipment with, otherwise

         discharged, and/or disposed at the Sites.

                           ii.   The Fluorosurfactant Defendants

                   134.   The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M,

          Arkema Inc., ChemDesign Products Incorporated, Chemguard Inc., Deepwater Chemicals, Inc.,

          E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company FC,

          LLC, DuPont de Nemours Inc., and Dynax Corporation.

                   135.   Defendant Arkema Inc. is a corporation organized and existing under the laws

          of Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA

          19406.

                   136.   Arkema Inc. develops specialty chemicals and polymers.

                   137.   Arkema, Inc. is an operating subsidiary of Arkema France, S.A.
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                 138.   On information and belief, Arkema Inc. designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products.

                 139.   Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

         organized under the laws of Delaware, with its principal place of business located at 2 Stanton

         Street, Marinette, WI, 54143.

                 140.   On information and belief, ChemDesign designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products

                 141.   Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation

         organized under the laws of Delaware, with its principal place of business located at 196122 E

         County Road 40, Woodward, OK, 73801.

                 142.   On information and belief, Deepwater Chemicals designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products

                 143.   Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

          laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

          Drive, Elmsford, New York 10523.

                 144.   On information and belief, Dynax entered into the AFFF market on or about 1991

          and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

          containing PFOS, PFOA, and/or their chemical precursors.




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                 145.    On information and belief, Dynax designed, manufactured, marketed, distributed,

          and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

          chemical precursors for use in AFFF products.

                 146.    Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

          organized under the laws of the State of Delaware, with its principal place of business located at

          974 Centre Road, Wilmington, Delaware 19805.

                 147.    Defendant The Chemours Company (“Chemours Co.”) is a limited liability

          company organized under the laws of the State of Delaware, with its principal place of business

          located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

                 148.    In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

          along with vast environmental liabilities which Chemours Co. assumed, including those related

          to PFOS and PFOA and fluorosurfactants.         On information and belief, Chemours Co. has

          supplied fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to

          manufacturers of AFFF products.

                 149.    On information and belief, Chemours Co. was incorporated as a subsidiary of

          DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-

          owned subsidiary of DuPont.

                 150.    In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

          “performance chemicals” business line, which includes its fluoroproducts business, distributing

          shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

          independent, publicly-traded company.




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                 151.      Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

          liability company organized under the laws of the State of Delaware, with its principal place of

          business located at 1007 Market Street, Wilmington, Delaware, 19899.

                 152.      Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

         under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

         Delaware 19805.

                 153.      Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

         Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

         principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H.

         Dow Way, Midland, Michigan 48674.

                 154.      On June 1, 2019, DowDuPont separated its agriculture business through the spin-

         off of Corteva.

                 155.      Corteva was initially formed in February 2018. From that time until June 1, 2019,

         Corteva was a wholly-owned subsidiary of DowDuPont.

                 156.      On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

         and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

         distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

                 157.      Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

         agriculture and nutritional businesses.

                 158.      On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva

         and of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be

         known as DuPont (“New DuPont”). New DuPont retained assets in the specialty products




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          business lines following the above-described spin-offs, as well as the balance of the financial

          assets and liabilities of E.I DuPont not assumed by Corteva.

                 159.    Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

          The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

          referred to as “DuPont” throughout this Complaint.

                 160.    On information and belief, DuPont designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products.

                 161.    On information and belief, 3M and Chemguard also designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products.

                 162.    On information and belief, the Fluorosurfactant Defendants designed,

          manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

          their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

          tested equipment with, otherwise discharged, and/or disposed at the Sites.

                          iii.   The PFC Defendants

                 163.    The term “PFC Defendants” refers collectively to 3M, AGC Chemicals

          Americas Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant

          Corporation, Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The

          Chemours Company, The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours

          Inc., and Nation Ford Chemical Company.

                 164.    Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

          and existing under the laws of Delaware, having its principal place of business at 55 East

          Uwchlan Avenue, Suite 201, Exton, PA 19341.
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                 165.    On information and belief, AGC Chemicals Americas, Inc. was formed in 2004

          and is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its

          a principal place of business in Tokyo, Japan.

                 166.    AGC manufactures specialty chemicals. It offers glass, electronic displays, and

          chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

          and various fluorointermediates.

                 167.    On information and belief, AGC designed, manufactured, marketed, distributed,

          and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 168.    Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

          existing under the laws of Delaware, with its a principal place of business at 5435 77 Center

          Drive, Charlotte, North Carolina 28217.

                 169.    On information and belief, Archroma was formed in 2013 when Clariant

          Corporation divested its textile chemicals, paper specialties, and emulsions business to SK

          Capital Partners.

                 170.    On information and belief, Archroma designed, manufactured, marketed,

          distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 171.    Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

          existing under the laws of Texas, with its principal place of business located at 12321

          Hatcherville, Baytown, TX 77520.




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                 172.   On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

          PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

          AFFF products.

                 173.   Defendant Clariant Corporation (“Clariant”) is a corporation organized and

         existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

         Charlotte, North Carolina 28205.

                 174.   On information and belief, Clariant is the successor in interest to the specialty

         chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

         Sandoz spun off its specialty chemicals business to form Clariant in 1995.

                 175.   On information and belief, Clariant supplied PFCs containing PFOS, PFOA,

         and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

         products.

                 176.   Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

         organized and existing under the laws of South Carolina, with its principal place of business

         located at 2300 Banks Street, Fort Mill, SC 29715.

                 177.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

         and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

         products.

                 178.   On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

          also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 179.   On information and belief, the Fluorochemical Defendants supplied PFCs

          containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the



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          fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

          equipment with, otherwise discharged, and/or disposed at the Sites.

                          iv.    Doe Defendants 1-20

                 180.    Doe Defendants 1-20 are unidentified entities or persons whose names are

          presently unknown and whose actions, activities, omissions (a) may have permitted, caused

          and/or contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may

          be vicariously responsible for entities or persons who permitted, caused and/or contributed to the

          contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

          entities or persons who permitted, caused and/or permitted , contributed to the contamination of

          Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain

          the Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff

          as they are not linked with any of the Defendants on any public source.

                 181.    The Doe Defendants 1-20 either in their own capacity or through a party they are

          liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

          containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

          marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in

          AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

          designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

          precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

          precursors; or (3) failed to timely perform necessary and reasonable response and remedial

          measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

          products containing PFOS, PFOA, and/or their chemical precursors in to the environment in

          which Plaintiff’s water supplies and well exist.



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                 182.    All Defendants, at all times material herein, acted by and through their respective

          agents, servants, officers and employees, actual or ostensible, who then and there were acting

          within the course and scope of their actual or apparent agency, authority or duties. Defendants

          are liable based on such activities, directly and vicariously.

                 183.    Defendants represent all or substantially all of the market for AFFF/Component

          Products at the Sites.

                  FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

                 A.      PFOA and PFOS and Their Risk to Public Health

                 184.    PFAS are chemical compounds containing fluorine and carbon. These substances

          have been used for decades in the manufacture of, among other things, household and

          commercial products that resist heat, stains, oil, and water. These substances are not naturally

          occurring and must be manufactured.

                 185.    The two most widely studied types of these substances are PFOA and PFOS.

                 186.    PFOA and PFOS have unique properties that cause them to be: (i) mobile and

          persistent, meaning that they readily spread into the environment where they break down very

          slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

          organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

          humans and animals.

                 187.    PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

          spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the

          soil into groundwater, where they can travel significant distances.

                 188.    PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

          bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,



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          chemically, and biologically stable. They resist degradation due to light, water, and biological

          processes.

                 189.    Bioaccumulation occurs when an organism absorbs a substance at a rate faster

          than the rate at which the substance is lost by metabolism and excretion. Biomagnification

          occurs when the concentration of a substance in the tissues of organisms increases as the

          substance travels up the food chain.

                 190.    PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

          relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

          periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

          any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

                 191.    PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

          humans eat fish that have ingested PFOA and/or PFOS.

                 192.    The chemical structure of PFOA and PFOS makes them resistant to breakdown or

          environmental degradation. As a result, they are persistent when released into the environment.

                 193.    Exposure to PFAS is toxic and poses serious health risks to humans and animals.

                 194.    PFAS are readily absorbed after consumption or inhalation and accumulate

          primarily in the bloodstream, kidney, and liver.

                 B.      Defendants’ Manufacture and Sale of AFFF/Component Products

                 195.    AFFF is a type of water-based foam that was first developed in the 1960s to

          extinguish hydrocarbon fuel-based fires.

                 196.    AFFF is a Class-B firefighting foam. It is mixed with water and used to

          extinguish fires that are difficult to fight, particularly those that involve petroleum or other

          flammable liquids.



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                 197.    AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

          agents with fluorosurfactants. When mixed with water, the resulting solution produces an

          aqueous film that spreads across the surface of hydrocarbon fuel. This film provides fire

          extinguishment and is the source of the designation aqueous film-forming foam.

                 198.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

          distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS,

          PFOA, or the chemical precursors that degrade into PFOS and PFOA.

                 199.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS,

          and/or their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release

          PFOA, PFOS, and/or their precursor chemicals into the environment.

                 200.    AFFF that contains fluorosurfactants, however, is better at extinguishing

          hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

          smothering the fire and starving it of oxygen.

                 201.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

          patented process of electrochemical fluorination (“ECF”).

                 202.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

          were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

                 203.    The PFCs the Fluorosurfactant Defendants needed to manufacture those

          fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

          manufactured, marketed, distributed and/or sold by the PFC Defendants.

                 204.    On information and belief, the PFC and Fluorosurfactant Defendants were aware

          that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or




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          sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

          sold by the AFFF Defendants.

                 205.     On information and belief, the PFC and Fluorosurfactant Defendants designed,

         manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in

         the AFFF products discharged into the environment at the Site during fire protection, training,

         and response activities, resulting in widespread PFAS contamination.

                 206.     On information and belief, the AFFF Defendants designed, manufactured,

         marketed, distributed, and/or sold the AFFF products discharged into the environment at the Site

         during fire protection, training, and response activities, resulting in widespread PFAS

         contamination.

                 C.       Defendants’ Knowledge of the Threats to Public Health and the Environment
                          Posed by PFOS and PFOA

                 207.     On information and belief, by at least the 1970s 3M and DuPont knew or should

         have known that PFOA and PFOS are mobile and persistent, bioaccumulative and

         biomagnifying, and toxic.

                 208.     On information and belief, 3M and DuPont concealed from the public and

         government agencies its knowledge of the threats to public health and the environment posed by

         PFOA and PFOS.

                 209.     Some or all of the Defendants understood how stable the fluorinated surfactants

         used in AFFF are when released into the environment from their first sale to a customer, yet they

         failed to warn their customers or provide reasonable instruction on how to manage wastes

         generated from their products.




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                              i.    1940s and 1950s: Early Warnings About the Persistence of AFFF

                  210.     In 1947, 3M started its fluorochemical program, and within four years, it began

          selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

          contained in AFFF products were understood prior to their commercial application at 3M’s

          Cottage Grove facility in Minnesota.

                  211.     The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

         ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do

         not react with any of the metals at ordinary temperatures and react only with the more chemically

         reactive metals such as sodium, at elevated temperatures.”1

                  212.     Simons further reported that fluorosurfactants produced by the ECF process do

          not react with other compounds or reagents due to the blanket of fluorine atoms surrounding the

          carbon skeleton of the molecule. 3M understood that the stability of the carbon-to-fluorine bonds

          prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

          natural processes in the environment.2

                  213.     The thermal stability of 3M’s fluorosurfactants was also understood prior to

          commercial production. Simons’ patent application further discloses that the fluorosurfactants

          produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

          Additional research by 3M expanded the understanding of the thermal stability of

          perfluorocarbon compounds.3



              1
                 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
               2
                 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
              3
               Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry, 1(13):
          423-462.

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                 214.    Nowhere in any Material Safety Data Sheet for any of Defendants’

         AFFF/Component Products is information on the thermal stability of those products disclosed.

         Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

         products to customers is a failure to warn just how indestructible the AFFF’s ingredients are

         when released to unprotected water sources and even treatment plants.

                           ii.   1960s: AFFF’s Environmental Hazards Come into Focus

                 215.    By at least the end of the 1960s, additional research and testing performed by 3M

          and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

          chemical structure, were resistant to environmental degradation and would persist in the

          environment essentially unaltered if allowed to enter the environment.

                 216.    One 3M employee wrote in 1964: “This chemical stability also extends itself to

          all types of biological processes; there are no known biological organisms that are able to attack

          the carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its

          surfactants were immune to chemical and biological degradation in soils and groundwater.

                 217.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

          fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

          perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-

          143 (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility

          in soils for both compounds.5




             4
                  Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
               5
                 Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.

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                             iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                                    Risks

                    218.    By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

          not degrade when released to the environment, but would remain intact and persist. Two decades

          later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

          finally got around to looking at the environmental risks that fluorosurfactants posed.

                    219.    An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

          sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

          least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

          was released into the environment.

                    220.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

          understanding of the persistent nature of PFCs. A 1976 study, for example, observed no

          biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as

          “unsurprising” in light of the fact that “[b]iodegradation of FC 95 is improbable because it is

          completely fluorinated.”7

                    221.    In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

         acknowledged that releasing AFFF into the environment could pose potential negative impacts to

         groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

          experimental AFFF formulations that would exhibit reduced impact on the environment while

          retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

          desired in the environmental area, i.e., development of compositions that have a reduced impact

              6
                Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
              7
                  Technical Report Summary, August 12, 1976 [3MA01252037].
             8
               Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
         1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.

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          on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the

          mid-1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence

          that Ansul (or any other Defendant) ever pursued initiatives to do so.

                   222.    A 1978 3M biodegradation study likewise reported that an “extensive study

         strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

         unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its

         fluorosurfactants “was found to be completely resistant to biological test conditions,” and that it

          appeared waterways were the fluorosurfactant’s “environmental sink.”10

                   223.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

          covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

          AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

          to the environmental impact of these chemicals.” The report ominously asked, “If these materials

          are not biodegradable, what is their fate in the environment?”

                   224.    During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

          accumulated in the human body and were “even more toxic” than previously believed.

                   225.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

          Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

          possibility that their products were a source of this PFOS. The finding also should have alerted


              9
                Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
          Fluorocarbons - II, Jan. 1, 1978, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
              10
                 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
         Fluorocarbons           -          III,        July        19,          1978,         available          at
         https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
              11
                  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
             12
                Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma, Aug. 20,
         1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.

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          3M to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying,

          as those characteristics could explain how PFOS from 3M's products ended up in human blood.

                   226.   In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

          ‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

          3M to the same issues raised by the prior year’s findings.

                   227.   Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

          minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

          rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

          food contaminated with PFOS.

                   228.   In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

          workers and came to the same conclusion that there was “no reason” to notify the EPA of the

          finding.17

                            iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

                   229.   By at least the end of the 1980s, additional research and testing performed by

          Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain

          cancers and other adverse health effects, including elevated liver enzymes and birth defects, had


              13
                    3M     Chronology     –    Fluorochemicals  in  Blood,       Aug.    26,    1977,    available    at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
              14
                 The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and Survival of
         Fry           of          Fathead         Minnow,            June          1978,          available         at
         https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
               15
                   Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study, Jan. 2, 1979,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
               16
                   Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90 Day
          Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
             17
                Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of Fluorochemicals
         in Blood, July 26, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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          been observed among workers exposed to such materials, including at least PFOA, but such data

          was not published, provided to governmental entities as required by law, or otherwise publicly

          disclosed at the time.

                     230.     In 1981, DuPont tested for and found PFOA in the blood of female plant workers

         Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

         workers, finding two of seven children born to female plant workers between 1979 and 1981 had

         birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect.18

                     231.     In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

         for environmental safety,” including “legitimate questions about the persistence, accumulation

         potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M

         completed a study finding that PFOS caused the growth of cancerous tumors in rats.20 This

         finding was later shared with DuPont and led them to consider whether “they may be obliged

         under their policy to call FC-143 a carcinogen in animals.”21

                     232.     In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

         workers, leading one of the company’s medical officers to warn in an internal memo: “we must

         view this present trend with serious concern. It is certainly possible that . . . exposure

         opportunities are providing a potential uptake of fluorochemicals that exceeds excretion

         capabilities of the body.”22


              18
                   C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
              19
                  3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
            20
               Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of 4,
         Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
              21
                 Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
         Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988, available at
         https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
              22
                   Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at

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                  233.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

         listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that

         the product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993

         studies conducted jointly by 3M and DuPont” as support for this statement. On information and

         belief, the MSDS for 3M’s AFFF products did not provide similar warnings or information.

                            v.    Defendants Hid What They Knew from the Government and the Public.

                  234.    Federal law requires chemical manufacturers and distributors to immediately

          notify the EPA if they have information that “reasonably supports the conclusion that such

         substance or mixture presents a substantial risk of injury to health or the environment.” Toxic

         Substances Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

                  235.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

         being cited for 244 violations of the TSCA, which included violations for failing to disclose

         studies regarding PFOS, PFOA, and other PFCs dating back decades.

                  236.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

         Environmental Administrative Penalty in Agency History” against DuPont based on evidence

         that it violated the TSCA by concealing the environmental and health effects of PFOA.

                  237.    On information and belief, Defendants knew or should have known that AFFF

         containing PFOA or PFOS would very likely injure and/or threaten public health and the

         environment, even when used as intended or directed.

                  238.    Defendants failed to warn of these risks to the environment and public health,

         including the impact of their AFFF/Component Products on the quality of unprotected water

         sources.



          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

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                  239.    Defendants were all sophisticated and knowledgeable in the art and science of

          designing, formulating, and manufacturing AFFF/Component Products. They understood far

          more about the properties of their AFFF/Component Products—including the potential hazards

          they posed to human health and the environment—than any of their customers. Still, Defendants

         declined to use their sophistication and knowledge to design safer products.

                  D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
                          Finally Revealed

                  240.    As discussed above, neither 3M, DuPont, nor, on information and belief, any

         other Defendant complied with their obligations to notify EPA about the “substantial risk of

         injury to health or the environment” posed by their AFFF/Component Products. See TSCA §

         8(e).

                  241.    Despite decades of research, 3M first shared its concerns with EPA in the late

         1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

         found in the blood of animals, which is true but omits the most significant information,”

         according to a former 3M employee.23

                  242.    On information and belief, 3M began in 2000 to phase out its production of

         products that contained PFOS and PFOA in response to pressure from the EPA.

                  243.    Once the truth about PFOS and PFOA was revealed, researchers began to study

         the environmental and health effects associated with them, including a “C8 Science Panel”

          formed out of a class action settlement arising from contamination from DuPont’s Washington

          Works located in Wood County, West Virginia.




               23
                      Letter        from       R.      Purdy,     Mar.       28,   1999,   available   at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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                 244.    The C8 panel consisted of three epidemiologists specifically tasked with

          determining whether there was a probable link between PFOA exposure and human diseases. In

          2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,

          ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

          hypercholesterolemia.

                 245.    Human health effects associated with PFOS exposure include immune system

          effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and

          high cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of

          tumors, changed hormone levels, and affected the function of the liver, thyroid, pancreas, and

          immune system.

                 246.    The injuries caused by PFAS can arise months or years after exposure.

                 247.    Even after the C8 Science Panel publicly announced that human exposure to 50

          parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

          with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

          disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

          and represented to governmental entities, their customers, and the public (and continue to do so)

          that the presence of PFOA in human blood at the levels found within the United States presents

          no risk of harm and is of no legal, toxicological, or medical significance of any kind.

                 248.    Furthermore, Defendants have represented to and assured such governmental

          entities, their customers, and the public (and continue to do so) that the work of the independent

          C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

          effects upon and/or any risk to humans with respect to PFOA in human blood.




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                  249.     At all relevant times, Defendants, through their acts and/or omissions, controlled,

          minimized, trivialized, manipulated, and/or otherwise influenced the information that was

          published in peer-review journals, released by any governmental entity, and/or otherwise made

          available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

          risks associated therewith, effectively preventing the public from discovering the existence and

          extent of any injuries/harm as alleged herein.

                  250.     On May 2, 2012, the EPA published its Third Unregulated Contaminant

          Monitoring Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty

          contaminants of concern between 2013 and 2015, including PFOS and PFOA.24

                  251.     In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

          (PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

          production and release into the environment of PFOA, called for greater regulation, restrictions,

          limits on the manufacture and handling of any PFOA containing product, and to develop safe

          non-fluorinated alternatives to these products to avoid long-term harm to human health and the

          environment.25

                  252.     On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

          effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

          2016. The EPA developed the HAs to assist governmental officials in protecting public health

          when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration


             24
               Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water Systems, 77
         Fed. Reg: 26072 (May 2, 2012).
             25
                Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins C,
         Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and perfluoroalkyl
         substances (PFASs). Environ Health Perspect 123:A107–A111; http://dx.doi.org/10.1289/ehp.1509934.
            26
               See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects Support
         Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.

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          of PFOS and PFOA in drinking water at or below which adverse health effects are not

          anticipated to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on

          peer-reviewed studies of the effects of PFOS and PFOA on laboratory animals (rats and mice)

          and were also informed by epidemiological studies of human populations exposed to PFOS.

          These studies indicate that exposure to PFOS and PFOA over these levels may result in adverse

          health effects, including:

                         a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                             birth weight, accelerated puberty, skeletal variations);

                         b. Cancer (testicular and kidney);

                         c. Liver effects (tissue damage);

                         d. Immune effects (e.g., antibody production and immunity);

                         e. Thyroid disease and other effects (e.g., cholesterol changes).

                    253.     In addition, PFOS and PFOA are hazardous materials because they pose a

          “present or potential threat to human health.”27

                    254.     In 2016, the National Toxicology Program of the United States Department of

          Health and Human Services (“NTP”) and the International Agency for Research on Cancer

          (“IARC”) both released extensive analyses of the expanding body of research regarding the

          adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

          immune hazard to humans” based on a “consistent pattern of findings” of adverse immune

          effects in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure

          was associated with suppression of immune responses in animal (toxicology) studies.28


              27
               Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring to
          PFOS as a “toxic compound” and a “hazardous chemical.”).
              28
                   See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph: Immunotoxicity

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                   255.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

          PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

          observed between exposure to the agent and cancer for which a causal interpretation is . . .

          credible.”29

                   256.    California has listed PFOA and PFOS to its Proposition 65 list as a chemical

          known to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act

          of 1986.30

                   257.    The United States Senate and House of Representatives passed the National

          Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

          contamination from military bases, as well as devoting $7 Million toward the Investing in

          Testing Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to

          conduct a study into the long-term health effects of PFOA and PFOS exposure.31 The legislation

         also required that the Department of Defense submit a report on the status of developing a new

         military specification for AFFF that did not contain PFOS or PFOA.32




          Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept. 2016), at 1, 17, 19,
          available at https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
              29
                  See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
          Polymer           Manufacture       (Dec.       2016),     at      27,      97,       available       at
          http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
               30
                  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10, 2017 as
          Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA) and
          Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.gov/proposition-65/crnr/chemicals-
          listed-effective-november-10-2017-known-state-california-cause.
               31
                  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available at
          https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
              32
                Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to Congress,
          June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-aqueous-film-forming-
          foam-report-to-congress/.

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                   258.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

         and EPA released a draft toxicological profile for PFOS and PFOA and recommended the

         drinking water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33

                   259.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

          and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key

          milestone” in its efforts to “help communities address per- and polyfluoroalkyl substances

          (PFAS) nationwide.”34 Following a public comment period on its proposed decision, the EPA

         will decide whether to move forward with the process of establishing a national primary drinking

         water regulation for PFOA and PFOS.

                   E.     AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                          Groundwater

                   260.   AFFF containing PFOS and/or PFOA, once it has been released to the

          environment, lacks characteristics that would enable identification of the company that

          manufactured that particular batch of AFFF or chemical feedstock.

                   261.   A subsurface plume, even if it comes from a single location, such as a retention

          pond or fire training area, originates from mixed batches of AFFF and chemical feedstock

          coming from different manufacturers.

                   262.   Because precise identification of the specific manufacturer of any given

          AFFF/Component Product that was a source of the PFAS found at Reese Air Force Base, during

          fire protection, training, and response activities, resulting in widespread PFAS contamination is




               33
                  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
          https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
              34
                Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water, Feb. 20,
         2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-regulate-pfoa-and-pfos-
         drinking-water.

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          nearly impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly and

          severally.

                 263.    Defendants are also jointly and severally liable because they conspired to conceal

          the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

          containing PFOS and PFOA, at Plaintiffs’ expense, and to attempt to avoid liability.

                         MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                          CONCERT OF ACTION, AND ENTERPRISE LIABILITY

                 264.    Defendants in this action are manufacturers that control a substantial share of the

          market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical

          precursors in the United States and are jointly responsible for the contamination of the

          groundwater at the Site, affecting groundwater sources within the vicinity of the base. Market

          share liability attaches to all Defendants and the liability of each should be assigned according to

          its percentage of the market for AFFF/Component Products at issue in this Complaint.

                 265.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

          manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

          chemical precursors found free in the air, soil or groundwater, and each of these Defendants

          participated in a territory-wide and U.S. national market for AFFF/Component Products during

          the relevant time.

                 266.    Concert of action liability attaches to all Defendants, each of which participated in

          a common plan to commit the torts alleged herein and each of which acted tortuously in

          pursuance of the common plan to knowingly manufacture and sell inherently dangerous

          AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors.

                 267.    Enterprise liability attaches to all the named Defendants for casting defective

          products into the stream of commerce.


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                                                   CONSPIRACY

                 268.     Defendants actually knew of the health and environmental hazards which PFOA

          and PFOS posed to Plaintiffs.

                 269.         Beginning in the 1970s and continuing through the date of this Complaint,

          Defendants formed joint task forces, committees and otherwise colluded for the avowed purpose

          of providing information about AFFF/Component Products containing PFOA and/or PFOS to the

          public and to government agencies with the unlawful purpose of:

                     a.      Creating a market for AFFF/Component Products containing PFOA and/or

                             PFOS despite knowledge of the hazards which PFOA and PFOS posed to the

                             groundwater in Colorado and the residents who depend on such water;

                     b.      Concealing the environmental properties and toxic nature of PFOA and PFOS,

                             and its impact on Plaintiffs and the environment; and

                     c.      Maximizing profits in a way Defendants knew or should have known would

                             result in the contamination of Plaintiffs’ drinking water.

                 270.     Defendants carried out their conspiracy by one or more of the following overt acts

          or omissions:

                     a.      Intentionally representing to the DOD, USAF, USEPA and the public that

                             AFFF/Component Products containing PFOA and PFOS were safe and did not

                             pose an environmental or human health risk;

                     b.      Concealing the dangers of PFOA and PFOS (including toxicological

                             information on the dangers of the chemicals to living organisms, adverse fate

                             and transport characteristics, and the propensity of PFOA and PFOS to

                             contaminate groundwater) from the government and the public by, among



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                           other means, repeatedly requesting that information about the dangers and

                           health effects of PFOA and PFOS be suppressed and not otherwise published,

                           and by downplaying any adverse findings relating to PFOA and PFOS;

                    c.     Concealing the dangers of AFFF/Component Products containing PFOA and

                           PFOS from end users, sensitive receptors, public water suppliers, and the

                           users and consumers of groundwater;

                    d.     Using their considerable resources to fight PFOA and PFOS regulation; and

                    e.     Collectively deciding to use PFOA and/or PFOS rather than other, safer

                           surfactants because AFFF/Component Products containing PFOA and/or

                           PFOS were the most profitable surfactant for Defendants to use.

                271.        As a direct and proximate result of the Defendants’ above-described

         conspiracy, PFOA and PFOS, at all times relevant to this litigation has:

                    a.     Posed and continues to pose a health threat to Plaintiffs because it has

                           bioaccumulated in their bodies;

                    b.     Contaminated Plaintiffs’ property, soil, and groundwater, for those with

                           private water wells;

                    c.     Created the need for remediation of PFOA- and PFOS- contaminated

                           groundwater for those property owners who utilize private water wells, or,

                           where remediation of the groundwater is impractical, installation of a system

                           to filter out PFOA and PFOS or procurement of water from alternative

                           sources;




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                                               CAUSES OF ACTION

                                                   COUNT 1:
                                               DEFECTIVE DESIGN

                 272.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 273.     As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to all persons whom its products might

          foreseeably harm, including Plaintiffs, and not to market any product which is unreasonably

          dangerous in design for its reasonably anticipated used.

                 274.     Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                     a. PFAS causes extensive groundwater contamination, even when used in its

                          foreseeable and intended manner;

                     b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                     c. PFAS poses significant threats to public health; and

                     d. PFAS create real and potential environmental damage.

                 275.     Defendants knew of these risks and failed to use reasonable care in the design of

          their AFFF/Component Products.

                 276.     AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

         danger to the environment and to human health than would be expected by ordinary persons such

         as Plaintiffs.

                 277.     At all times, Defendants were capable of making AFFF/Component Products that

          did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

          designs existed which were capable of preventing Plaintiffs’ injuries.

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                  278.       The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

          precursors far outweigh the products’ utility as a flame-control product.

                  279.       The likelihood that Defendants’ AFFF/Component Products would be spilled,

          discharged, disposed of, or released into the environment and Plaintiffs’ water well has been, and

          continues to be, contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injuries and damages that far outweighed any burden on Defendants to adopt an

          alternative design, and outweighed the adverse effect, if any, of such alternative design on the

          utility of the product.

                  280.       As a direct and proximate result of Defendants’ unreasonably dangerous design,

          manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

          chemical precursors, Plaintiffs’ water supply has been, and continues to be, contaminated with

         PFAS in varying amounts over time, causing Plaintiffs significant injuries and damages.

                  281.       Defendants knew that it was substantially certain that their acts and omissions

         described above would contaminate Plaintiffs’ water supply with PFAS in varying amounts over

          time, causing Plaintiffs significant injuries and damages. Contamination that led to the exposure of

          Plaintiffs’ to toxins and increased their risk of numerous diseases. Defendants committed each of

          the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or

          malice, and with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or

          property rights.

                                                     COUNT 2:
                                                 FAILURE TO WARN

                  282.       Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:




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                 283.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of

          these products to all persons whom its product might foreseeably harm, including Plaintiffs.

                 284.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

         reasonably anticipated uses for the following reasons:

                     a. PFAS causes extensive groundwater contamination, even when used in its

                         foreseeable and intended manner;

                     b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                     c. PFAS poses significant threats to public health; and

                     d. PFAS create real and potential environmental damage.

                 285.    Defendants knew of the health and environmental risks associated with their

         AFFF/Component Products and failed to provide a warning that would lead an ordinary

         reasonable user or handler of a product to contemplate the dangers associated with their products

         or an instruction that would have avoided Plaintiffs’ injuries.

                 286.    Despite Defendants’ knowledge of the environmental and human health hazards

         associated with the use and/or disposal of their AFFF/Component Products in the vicinity of

         drinking water supplies, including PFAS contamination of the drinking supplies, Defendants failed

         to issue any warnings, instructions, recalls, or advice regarding their AFFF/Component Products to

         Plaintiff, governmental agencies or the public.

                 287.    As a direct and proximate result of Defendants’ failure to warn, Plaintiffs’ water

         supply has been, and continues to be, contaminated with PFAS in varying amounts over time,

         causing Plaintiffs significant injuries and damages. Further, this contamination led to the exposure




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          of Plaintiffs to toxins and increased their probabilities of numerous diseases as more fully set forth

          above.

                   288.   Defendants knew that it was substantially certain that their acts and omissions

          described above would contaminate Plaintiffs water supply with PFAS in varying amount,

          causing Plaintiffs significant injuries and damages. Defendants committed each of the above-

          described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

          with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                     COUNT 3:
                                                    NEGLIGENCE

                   289.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                   290.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to Plaintiffs and to all persons whom its

          products might foreseeably harm and to exercise due care in the formulation, manufacture, sale,

          labeling, warning, and use of PFAS-containing AFFF.

                   291.   Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

          dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

          water was imminent and certain.

                   292.   Defendants knew or should have known that PFAS were leaching from AFFF

          used for fire protection, training, and response activities.

                   293.   Defendants knew or should have known that PFAS are highly soluble in water,

          highly mobile, extremely persistent in the environment, and high likely to contaminate water

          supplies if released into the environment.




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                 294.   Defendants knew or should have known that the manner in which they were

          designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

          would result in contamination of Plaintiffs’ water supply with PFAS in varying amounts over

         time, causing Plaintiffs significant injuries and damages.

                 295.   Despite the fact that Defendants knew or should have known that PFAS are toxic,

         can contaminate water resources and are carcinogenic, Defendants negligently:

                    a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                        marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                        PFOA, and/or their chemical precursors;

                    b. issued deficient instructions on how their AFFF/Component Products should be used

                        and disposed of, thereby permitting PFAS to contaminate the groundwater in and

                        around the Site;

                    c. failed to recall and/or warn the users of their AFFF/Component Products of the

                        dangers of groundwater contamination as a result of standard use and disposal of

                        their products;

                    d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                        AFFF/Component Products; and

                    e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

                        correct, or remedy any contamination after it occurred.

                 296.   The magnitude of the burden on the Defendants to guard against this foreseeable

         harm to Plaintiffs was minimal, as the practical consequences of placing this burden on the

         Defendants amounted to a burden to provide adequate instructions, proper labeling, and

         sufficient warnings about their AFFF/Component Products.



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                 297.    As manufacturers, Defendants were in the best position to provide adequate

          instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

          to take steps to eliminate, correct, or remedy any contamination they caused.

                 298.    As a direct and proximate result of Defendants’ negligence, Plaintiffs’ water

          supply has been contaminated with PFAS, in varying amounts of time, causing Plaintiffs

          significant injuries and damages.

                 299.    Defendants knew that it was substantially certain that their acts and omissions

          described above would cause Plaintiffs’ water supply to be contaminated with PFAS in varying

         amounts over time, causing Plaintiffs significant injuries and damages. Defendants committed

         each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

         oppression, or malice, and with conscious and/or reckless disregard for Plaintiffs’ health and

         safety, and/or property rights.

                                                       COUNT 4:
                                                       TRESPASS

                 300.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 301.    Plaintiffs are the owners, operators, and actual possessors of real property as

          defined herein.

                 302.    Defendants        designed,   manufactured,   distributed,   marketed,     and   sold

          AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

          containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

          PFAS that would migrate into groundwater, causing contamination.




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                   303.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

          distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

          contaminate Plaintiffs’ property.

                   304.     As a direct and proximate result of Defendants’ trespass, Plaintiffs have suffered

          and continues to suffer property damage requiring investigation, remediation, and monitoring

          costs.

                   305.     Defendants knew that it was substantially certain that their acts and omissions

          described above would threaten public health and cause extensive contamination of property,

          including groundwater collected for drinking. Defendants committed each of the above-

          described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and

          with conscious and/or reckless disregard for the health and safety of others, and for Plaintiffs’

          property rights.

                                             COUNT 5:
                          ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                   306.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                   307.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

          “Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

          including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

          assuming significant liabilities (the “Assumed Liabilities”).

                   308.     The Transfers and Assumed Liabilities were made for the benefit of DuPont.

                   309.     At the time that the Transfers were made and the Liabilities were assumed, and

          until the Spinoff was complete, DuPont was in a position to, and in fact did, control and

          dominate Chemours Co.


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                 310.   The Fraudulent Transfer Defendants made the Transfers and incurred the

          Assumed Liabilities with the actual intent to hinder, delay, and defraud the creditors or future

          creditors of Chemours Co.

                 311.   Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

         Defendants.

                 312.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

         transferred to DuPont.

                                       COUNT 6:
                 CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                 313.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

         paragraphs and further alleges the following:

                 314.   Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

         for the Transfers and Assumed Liabilities.

                 315.   Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

         Co. was made to or for the benefit of DuPont.

                 316.   At the time that the Transfers were made, and the Assumed Liabilities were

         assumed, and until the Spinoff was complete, DuPont was in a position to, and in fact did, control

         and dominate Chemours Co.

                 317.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

         Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

         remaining assets were unreasonably small in relation to its business.

                 318.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

         Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

         Liabilities.


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                 319.    At the time that the Transfers were made and Chemours Co. assumed the Assumed

         Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

         have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

                 320.    Plaintiffs have been harmed as a result of the Transfers.

                 321.    Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                                   COUNT 6:
                                              PUNITIVE DAMAGES

                 322.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 323.    Defendants engaged in willful, wanton, malicious, and/or reckless conduct that

          caused the foregoing damage upon Plaintiff, disregarding their protected rights.

                 324.    Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is

          not limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

          released into the environment and inevitably to Plaintiffs’ water supply which was contaminated

          and continues to be contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injury and damage.

                 325.    Defendants have caused great harm to Plaintiff, acting with implied malice and an

          outrageously conscious disregard for Plaintiffs’ rights and safety, such that the imposition of

         punitive damages is warranted.

                                              PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

         jointly and severally, and request the following relief from the Court:




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                    a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                        wanton, and careless disregard for the health, safety of Plaintiffs;

                    b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal,

                        and punitive damages;

                    c. an order for an award of attorney fees and costs, as provided by law;

                    d. pre-judgment and post-judgment interest as provided by law;

                    e. compensatory damages according to proof including, but not limited to:

                                i. costs and expenses related to the past, present, and future
                                   investigation, sampling, testing, and assessment of the extent of PFAS
                                   contamination at Plaintiffs’ water source;

                                ii. costs and expenses related to past, present, and future treatment and
                                    remediation of PFAS contamination at Plaintiffs’ water source; and

                                iii. costs and expenses related to past, present, and future installation and
                                     maintenance of filtration systems to assess and evaluate PFAS at
                                     Plaintiffs’ water source;

                    f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                        Complaint;

                    g. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                        wrongful conduct in the future;

                    h. an award of consequential damages;

                    i. an order for an award of attorney fees and costs, as provided by law;

                    j. an award of pre-judgment and post-judgment interest as provided by law; and

                    k. an order for all such other relief the Court deems just and proper.

                                          DEMAND FOR JURY TRIAL

                Plaintiffs demand a trial by jury of all issues so triable as a matter of right.




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          DATED this 23rd day of November 2021.

                                                   Respectfully submitted,

                                                   NAPOLI SHKOLNIK

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